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                                EXHIBIT Q
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                                                                                                                                                                        EXECUTION COPY



                               PREFERENCE SHARES PAYING AGENCY AGREEMENT

As of March                13 2007


Investors        Bank             Trust        Company
 as    Preference Shares                   Paying Agent

Corporate           Trust Office                 Eastland           CLO Ltd
200 Clarendon                Street

Mailcode            EUC       108

Boston        MA           02116




Ladies and            Gentlemen


                              Eastland            CLO Ltd                          company               existing           under       the    laws of the Cayman Islands the
Issuer              and      Eastland            CLO Corp                          Delaware              corporation              the         Co-Issuer and together with the
Issuer        the      Co-Issuers                          have         resolved             to    appoint        Investors             Bank               Trust       Company Investors
Bank             as    preference              shares           paying            agent           the Preference                   Shares           Paying           Agent             for     the    Class

Preference            Shares        and     the       Class        II    Preference                Shares       issued       by     the      Issuer       collectively                the     Preference

Shares                 The        Issuer       hereby             appoints          Investors              Bank        as    such        under          the     terms       set    forth          below and
confirms         Investor          Banks              agreement              to    distribute
                                                                                                         any    funds        to    be     paid      to    the    Holders          of the Preference

Shares                               the                          of Payments                 set forth         in    the    Indenture             as     defined       herein               Reference            is
             pursuant to                       Priority

also    made          to    the   indenture                dated             of March               13 2007                             the       Issuer the Co-Issuer                      and     Investors
                                                                        as                                             among
Bank         as trustee           the     Indenture                          Capitalized               terms      used       and     not otherwise                defined          herein          shall   have

the    meanings             assigned thereto                     in the       Indenture             or     if   not    defined          therein           certain      resolutions             passed        at


                of the Issuers Board of Directors                                        that       was held on March                         12 2007           as    reflected          in the       minutes
meeting

thereof        including Annex                             Annex                        therein          the Resolutions                          and      together         with       this    Agreement
and    the    Issuers             Memorandum                      and    Articles             of Association                 the    Preference                  Share        Documents                       The

Preference            Shares        will       be     issued        and       may        be       transferred subject                   to    the    procedures             set   forth       in    Annex

to the   Resolutions



                              On      the       Closing            Date                 all       of the     Class           Preference              Shares          will   be     offered           and     sold


directly       by      the    Issuer        to      Eastland            Investors             Corp         an    exempted               limited          liability     company                incorporated

under      the      laws      of the       Cayman                Islands          Investors                Corp             and     ii all          of the Class            II    Preference           Shares

will    be    offered          and        sold       by     the     Issuer         through             Citigroup            Global        Markets             Inc      as    placement               agent        to


Highland            Financial             Partners              L.P       HFP                     an    Affiliate           of the        Servicer              and/or       one        or    more         of     its


subsidiaries               Investors        Corp            will finance               its   purchase           of the Class                 Preference Shares                   by    issuing       Holding
Preference            Shares         in        number equal                   to    the       aggregate number                     of        at     price       equal to          the    price       of such
Class        Preference             Shares          purchased                by   it




                               Section                            Notice           of        Distribution             to    Directors                   The     Preference              Shares         Paying

                                  after                      of the Valuation                                    shall      forward           or    make        available         to    the    directors          of
Agent promptly                             receipt                                                 Report
the    Issuer       as      identified         to     it   by    the    Issuer          the       Valuation          Report which                 identifies         the Interest            Proceeds           and

Principal        Proceeds             payable to the Holders                            of the Preference Shares                          on the applicable                 Payment Date


                               Section                            Payments                   of     Dividends                and         Other           Distributions                  Amounts              Not
Distributable                        The       Preference               Shares          Paying         Agent          shall       subject          to    paragraphs                                    and

below         pay      or    cause        to     be        paid on behalf                    of the Issuer             on    each        applicable             Payment           Date         the    Interest

Proceeds         and        Principal          Proceeds             received            from        the    Trustee          to    the     Holders          of the Preference                   Shares        as

distribution               of dividend              on     such         Payment Date                      Such        distributions               of Interest         Proceeds               and     Principal

Proceeds         by way of dividend                         to    the     Holders             of Preference                Shares       shall       be paid pro rata               in the          proportion




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that    the       number of Preference                           Shares           held by              each       such        Holder          bears to             the        total    number             of Preference

Shares            The Issuer                 or the      Share        Registrar             on     its    behalf            shall       provide         the    Preference Shares                         Paying         Agent
with                         of the Preference                   Share          register          on      the     Closing           Date          and    thereafter                 the     Share        Registrar            will
              copy

promptly           notify          the       Preference Shares                    Paying            Agent of any changes                            to   the        Preference Share                      register            The

Preference               Shares                                            shall                         the      Issuer           and       the    Share                                   of                transfers            of
                                          Paying          Agent                            notify                                                                       Registrar                  any
Preference              Shares          known           to it




                                                    Notwithstanding                         anything             in        this     Agreement                 to        the    contrary             distributions                  of

Interest          Proceeds              and     Principal            Proceeds              by way of dividend                           to    the   Holders               of Preference Shares                         on     any

Payment Date                      shall            be     subject          to    the       Issuer        being         solvent           under          Cayman                Islands        law        defined         as        the

Issuer       being           able       to
                                              pay       its    debts       as     they become                    due        in the        ordinary course of business                                         immediately

            to and           after                                   to such payment                              determined                                              and         ii     be made           only to the
prior                                   giving effect                                                       as                               by the Issuer

extent       that       the       Issuer       has      sufficient           distributable                  profits and/or share                        premium out of which to make                                         such

                   as    determined                 by    the    Issuer                the        Issuer         determines              that      the conditions                   set forth           in either       clause
payment                                                                           If


       or    ii        above        are       not satisfied             with respect                   to              portion           of Interest               Proceeds                or Principal             Proceeds
                                                                                                             any

payable           on     such Payment                    Date        the     Issuer         shall        instruct          the     Preference Shares                       Paying Agent in writing                                not

later       than one          Business Day                    prior to such                Payment Date                     that    such        portion        of Interest Proceeds                           or Principal

Proceeds               as                               should         not be                       and        the     Preference               Shares         Paying               Agent          shall      not pay             the
                             applicable                                                paid

same         to    the       Holders           of the Preference                       Shares          until the            first       succeeding            Payment Date                         or in the case of

                               which would otherwise                                  be                         on    the    Redemption                 Date            or                Scheduled            Preference
any     payments                                                                            payable                                                                            any
Shares        Redemption                      Date        until        the      first       succeeding                 Business              Day         upon           which          the    Issuer          notifies            the

Preference               Shares              Paying        Agent           in     writing           that         each         such        condition                is    satisfied            at    which            time         the

Preference              Shares          Paying Agent shall distribute                                    such         amounts                To    the extent             available               distributions              shall

be     made        first       out of distributable                        profits          for     the     current           Due        Period          then out               of distributable                    profits        in

excess        of dividends                   for prior         Due Periods and then out of                                    share       premium


                                                                                                                 in this         Agreement               to    the        contrary            distributions                 of the
                                                     Notwithstanding                        anything

Redemption                   Price        by way           of redemption                     of the Preference                          Shares          shall       be        subject        to     the       Issuer        being
solvent       under           Cayman               Islands       law defined                  as the Issuer                  being able to pay                      its   debts        as    they become                due        in

the     ordinary course                       of business                  immediately                   prior         to and            after      giving effect                     to such           distribution               as

determined               by       the    Issuer           For purposes                 of this subsection                                     determination                    as     to    whether           the    Issuer        is


solvent           on    the    Redemption                 Date         shall      be made              by      the     Issuer                 after      giving           effect       to               payments             to   be
                                                                                                                                                                                             any
made on such Redemption                                   Date       and               in light          of the fact              that    the      obligations                of the Issuer              to    the   Holders

of the        Notes            the       other          Secured         Parties             and     the      other          Persons           subject          to        the    Priority            of Payments                   are

limited       in       recourse to the Collateral                               and        not to amounts                          in the       Preference Shares                          Distribution             Account

ii      any       other        amounts              released          from        the       Collateral                in   accordance               with the Indenture                            and    held by or on

behalf        of the Issuer                  for the       benefit         of the Holders                      of the Preference                     Shares              or    iii amounts                   on   deposit          in

the     Issuers bank account                             in    the    Cayman                Islands          and       that       after      the assets             in the       Collateral              are      exhausted

such        parties          will    have          no    further       claim against                   the       Issuer            If   the     Issuer        detennines                   that    such       condition            is


not satisfied                on         Redemption               Date           with respect                to              portion          of the Redemption                             Price        the    Issuer        shall
                                                                                                                  any
instruct          the        Preference             Shares                                             in                     not        later      than one              Business                Day                  to    such
                                                                     Paying            Agent                writing                                                                                          prior

Redemption                   Date        that      such        portion           should           not be          distributed                and     the      Preference                   Shares        Paying         Agent
shall       not distribute                   the    same        to     the      Holders            of the Preference                         Shares      until           the    first       succeeding               Business

                                                                                                                                                               in writing                  that    such       condition
Day         upon which               the       Issuer         notifies          the    Preference                Shares           Paying          Agent                                                                            is


satisfied              and    the       amounts           so    retained          in the           Preference                Shares          Distribution                 Account            will       be    held therein

until       such       amounts            are      paid



                                                     On       each     Payment                Date          the       Preference              Shares          Paying            Agent         shall          distribute           on

behalf        of the          Issuer amounts                                          received                         from        the       Trustee          which            are     then on deposit                      in the
                                                                  if    any                              by      it



Class              Preference                 Share                                                 Account                                   to    Section               10.3j             of the        Indenture               for
             II                                               Special           Payment                                    pursuant




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payment pro              rata    to      the     Holders             of the Class               II   Preference Shares                         as the          Class           II   Preference                Share          Special

Payment


                                                 Dividends                to the         Holders           of the Preference Shares                                  other               than Class              II    Preference

Share                     Payments                            be     paid           in   whole              in               on any Payment Date                                     with any
            Special                                 may                                               or          part                                                                                      Eligible          Equity

Securities          held       by     or    on      behalf           of       the    Issuer          at    such        time in lieu of                         distribution                    of Interest              Proceeds

The     Servicer           on behalf                the    Issuer shall                   have        the       right        to       direct     the       Trustee                  to    distribute             any        Eligible

Equity       Securities
                                 pro       rata      to    the       Consenting                Holders            of the Preference                       Shares               as        identified           to the         Trustee

by    the    Preference             Shares          Paying           Agent               with respect             to        such        Payment Date                      to    the extent                 that       the    Market
Value        of such          Eligible           Equity            Securities             detennined                   by        the     Servicer              as    of the               relevant           Market Value
Detennination                 Date         is    equal          to       or    lower          than        the     aggregate                  amount            of Interest                     Proceeds               that    would

otherwise           be    due       and         payable             on        such        Payment               Date        to     such         Consenting                     Holders               of the            Preference

Shares         Interest          Proceeds                in    an     amount              equal to              the    Market            Value            of such               Eligible              Equity            Securities


determined               by     the      Servicer             as     of the              relevant          Market Value                       Determination                          Date            distributed              to     the


Consenting           Holders             of the Preference                          Shares          with respect                 to
                                                                                                                                        any     such       Payment Date                             shall     be       treated       for

all                      by the Issuer               and      the        Servicer             as Principal             Proceeds               available              for distribution                       on        the relevant
      purposes

Payment Date                    The      amount of              Interest            Proceeds              available              on     the relevant                Payment Date                           shall      be     reduced

and     the     amount              of                             Proceeds               available              on     the           relevant            Payment                   Date            shall        be     increased
                                           Principal

accordingly



                                                 Anything                in this          Agreement               to    the        contrary              notwithstanding                             the     Holders              of the

Preference Shares                   acknowledge                     and                   for the          benefit          of the Holders                     of the Notes                        that    the rights             of the
                                                                              agree
Holders        of the Preference                         Shares          to    distributions                by        the    Issuer           and     in       and        to    the           assets       of the Issuer               in


respect       of such           Preference               Shares           shall          be    subordinate                  and       junior        to    the       Notes                to    the        extent       and        in the

manner        set    forth       in the         Indenture             including               as     set forth         in    Section            11.1       thereof              and           as    required by law                    If


        Event         of Default                 has       occurred                 and       has         not    been            cured         or    waived                and            acceleration                  occurs         in
any
accordance            with       Article                  of the          Indenture                 the    Notes            shall       be     paid        in    full          in    Cash before any                          further


payment         or       distribution               is   made         on account                     of the       Preference                  Shares                The         Holders               of the           Preference

Shares                    for the benefit                 of the Holders of the Notes not to cause the filing of                                                                              petition        in      bankruptcy
             agree

against       the Issuer            for failure to
                                                                pay       to    them amounts                      due       under        the        Articles          or       hereunder                   in respect             of the

Preference           Shares         or     payable            under           the    Indenture              prior       to       the     date       which            is   one            year and one                  day        or   if


longer        the     applicable               preference                period               after       the    payment                in    full       of principal                     of and            interest          on     the

Notes


                                                    In    the        event          that       notwithstanding                          the     provisions                     of        this       Agreement                 or     the

Indenture                     Holder        of any Preference                            Shares       shall       have           received any                  payment or                     distribution              in respect
                    any
of such        Preference                Shares           contrary             to    the       provisions              of this Agreement                              the       Articles                  or the        Indenture

then        unless       and     until              the       Class A-i Notes                         ii        the    Class A-2a Notes iii the Class A-2b Notes                                                                    iv
the    Class A-3 Notes                              the    Class               Notes           vi         the    Class                Notes         and        vii        the        Class                Notes         shall      have

been    paid in          full    in   Cash          in    accordance                 with the Indenture                           such        payment or                  distribution                    shall       be received

and     held in trust for the benefit                                 of and              shall       forthwith              be       paid over            and        delivered                     to     the     Trustee           for


payment         and       delivery          of the same to the Holders                                     of the Class A-i                     Notes            the       Class A-2a Notes the Class

A-2b Notes               the    Class A-3 Notes the Class                                            Notes            the    Class              Notes          or the           Class                 Notes            as the      case

may be         in    accordance                with the Indenture                             provided            however                that       if    any       such            payment               or distribution              is


made        other    than in          Cash          it    shall      be paid over and                       delivered              to    the    Trustee              such           that       it
                                                                                                                                                                                                    may      be       held by the

Trustee                        of the Collateral                                                                                                                                                          of the Indenture
              as part                                               pursuant to and                       subject           in    all   respects           to       the        provisions

including       Section             13.1       thereof



                                Section                              Payments                 and     Redemption                                 The           Preference                     Shares         Paying               Agent
shall       make                               or    distributions                   other           than        distributions                  of Eligible                    Equity               Securities               to    each
                         payments

registered          Holder          on     the      relevant          Record Date                    as     set       out    in    Annex                  to    the       Resolutions                      by wire transfer




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in    immediately                  available               funds         to          U.S         Dollar account                         maintained               by such             Holder              as    notified          to     the

Preference              Shares           Paying            Agent or                 in the          absence             of such              notification               by U.S            Dollar check                    mailed         to

such     Holder              at    its        address of record                           The            Issuer       shall             or    shall                          that       the       Share        Registrar              will
                                                                                                                                                          procure

provide           the     Preference                   Shares            Paying                Agent with                    all        relevant           information                  regarding              the        registered

Holders           of the Preference                           Shares          as     the       Preference               Shares               Paying        Agent may reasonably                                 require           to    the

extent      such information                         is    in    possession or control                            of the Issuer                    or    Share Registrar



                                                      If   the        Servicer                on behalf of               the       Issuer desires                     to     make        distributions                   of Eligible

                 Securities              on any                                     Date        in        lieu     of        Interest             Proceeds             that       are     otherwise                 available           for
Equity                                                        Payment
distribution             to        the        Holders              of    Preference                  Shares             on such               Payment             Date            pursuant              to     the       Priority        of

Payments            as       described              in     Section             2e         above            the     Servicer              will       notify       the       Trustee            the       Preference              Shares

Paying Agent and the Holding                                            Preference              Shares            Paying            Agent pursuant                      to    the       Servicing              Agreement                not

later    than 20 calendar                          days       prior to             such       Payment Date                    and        provide           the    Trustee               the    Issuer the Preference

Shares                                                                               on              Record Date                                                                        but in no event                   later        than
             Paying               Agent for forwarding                                        the                                   or       promptly           thereafter

two Business Days                             after      the       Record Date                      to    each        Holder            of the Preference                      Shares             registered             as such        on

the   Record Date                      for    such Payment                     Date           and        the    Holding            Preference                  Shares Paying                  Agent for forwarding
on    the    Record Date                      or    promptly             thereafter                 but in no event                      later      than two Business Days after the Record

Date        to    each        Holder               of the Holding                       Securities             registered               as    such         on    the       Record Date                   for    such       Payment
Date        with                  details          of the Eligible                       Equity           Securities               to    be       distributed              ii       the       Market Value                   of such

Eligible          Equity           Securities              determined                    as   of the relevant                  Market Value                      Determination                         Date     iii any           other

information considered                               necessary by                       the    Servicer            in    connection                  with such               proposed              distribution             and        iv
         information                   as     otherwise                 required by the                        Trustee             the       Preference                Shares           Paying           Agent and/or                   the
any

Holding           Preference                     Shares          Paying            Agent with                   respect            to        such        proposed             distribution                    The        Preference

Shares       Paying               Agent          shall        then mail such                    materials within                             two Business Days of                            its   receipt          thereof           from
the    Servicer              to     each         registered              Holder               of Preference                  Shares           on     the       Record Date                   for       such     Payment Date

along       with              form of              notice          and        consent           in              form         attached              hereto        in     Schedule                       seeking the              written

consent           of each              such        Holder           of Preference                        Shares         to    distribute                 such     Eligible           Equity             Securities           to        such

Holder           in lieu          of    all   or       portion           of the Interest Proceeds                                  available              for distribution                   to    such        Holder       on such

Payment Date                        Each Holder                    of the Preference                           Shares         wishing               to    receive          such      Eligible            Equity           Securities

in lieu      of         distribution                of     all     or         portion          of the Interest Proceeds                                  available           for distribution                  to    such       Holder

on    such        applicable                  Payment Date                     each           such        Holder             with respect                 to    such       Payment Date                             Consenting
Holder of the Preference                                      Shares                is   required to deliver                        to the          Preference               Shares Paying                    Agent             written

consent          which             consent            will       be     irrevocable                  no        later    than five Business Days prior to such                                                  Payment Date
If           Holder               of Preference                    Shares           does not              timely         deliver              its   written           consent           to    the       Preference              Shares
      any
                                  in the         manner            set forth                   such        notice                                          consent           to    the                        of such
Paying           Agent                                                                   in                              indicating                 its                                   receipt                           Eligible

                 Securities                 in     lieu       of         distribution                    of     all     or          portion               of the        Interest             Proceeds               available           for
Equity
distribution             to       such           Holder          on such             Payment                  Date       such           Holder            shall    be        deemed               to    have        not given            its


consent           and     shall          not be               Consenting                  Holder               of Preference                   Shares           with respect                 to    such        Payment            Date

On     each         applicable                   Payment                Date         or        as        soon      thereafter                 as    reasonably                practicable                     Eligible          Equity
Securities          shall          be     distributed              pro        rata       to    each        Consenting                   Holder           of the Preference                     Shares          with respect              to

such     Payment Date                            Each Holder                   of Preference                    Shares          that         is    not         Consenting               Holder           of the Preference

Shares           and         for the             avoidance              of doubt                each          Consenting                 Holder            of the Preference                       Shares           to    the     extent

the    Market Value                      as      of the relevant                   Market Value                       Determination                      Date     of the pro rata                       portion          of Eligible

Equity           Securities              distributed               to    it    on such Payment Date                                     is   less       than the pro rata                     portion           of the          Interest

Proceeds           that       it       would have                  received              on    such        Payment                 Date        had        the    Eligible           Equity             Securities          not been

                                                                                                                                                                                                                          of Interest
distributed             on        such        Payment Date on any                                applicable              Payment Date                          shall    receive               distribution

Proceeds           to    the           extent        available                in   accordance                   with the            Priority             of Payments                on        such       Payment             Date        in

accordance              with Section                   2e          herein          and        the    Indenture



                                                      The          Issuer          or    the    Preference                   Shares           Paying            Agent         shall       not be             obligated           to    pay

any      additional                amounts               to      Holders             or       beneficial              owners                 of the        Preference               Shares              as       result         of any




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withholding            or       deduction              for        or         on account            of any                   present           or     future        taxes          duties          assessments                  or

governmental               charges              As          condition to payment                         of any amount                         the       Preference Shares                       Paying Agent on

behalf        of the       Issuer          may         require              certification          acceptable                     to    it    to    enable the             Issuer           and       the    Preference

Shares        Paying        Agent          to     determine                  their duties          and        liabilities               with respect               to              taxes         or    other        charges
                                                                                                                                                                           any
                           be                                deduct                  withhold           from payments                                distributions               in respect            of Preference
that   they     may              required              to                     or                                                               or

Shares        under       any     present            or future               law or regulation                    of the United                     States       or     any      present or future                     law or

regulation        of any         political            subdivision thereof                         or    taxing          authority              therein          or to comply with any                             reporting

or    other     requirements                under           such        law        or    regulation                Amounts                   properly withheld                    under          the    Code         by any
Person        from             payment            or      distribution               to         Holder            of Preference                     Shares        shall       be    considered                 as      having

been     paid by           the    Issuer          or      the     Preference                  Shares         Paying              Agent         to       such     Holder          for     all     purposes            herein

The     Issuer       and       the     Preference                 Shares            Paying        Agent hereby provide                                   notice       to    each       Holder           or     beneficial

owner         of the        Preference               Shares             that        the    failure       to                             the        Preference              Shares        Paying             Agent with
                                                                                                                  provide

appropriate           tax       certifications                will          result       in    amounts             being           withheld              from      payments                 to   such        Holders           or

beneficial           owners           of    the        Preference                   Shares        under            this          Agreement                 provided               that       amounts              withheld

pursuant to applicable                      tax      laws shall be considered                                as   having               been     paid by the Issuer                     as    provided             herein


                                                The          Issuer           the        Share     Registrar                 and        the        Preference              Shares        Paying              Agent may
deem      and     treat         the    Holder             of any             Preference            Shares              as    the        absolute           owner           of such          Preference               Shares

notwithstanding                             notation               of        ownership             or        other           writing               on              certificate               representing                 such
                                 any                                                                                                                      any
Preference           Shares           for the                                of paying           dividends                  and        other        distributions             thereon            and        for    all    other
                                                       purpose

purposes         and        none of             the       Issuer             the    Share        Registrar              or        the     Preference              Shares           Paying          Agent            shall      be

affected        by    any        notice         to     the        contrary                All     such       payments                   including                distributions               of Eligible               Equity

                            made                such        Holder                                           Holders                                              valid       and                the                     of the
Securities           so                to                                     or    upon such                                      order shall              be                           to             extent

sum     or    sums        so    paid       effectual              to    satisfy          and    discharge the                    liability          for the       monies           payable            upon any such
Preference Share



                                                All
                                                            payments                by    the     Preference                 Shares            Paying           Agent hereunder                        shall      be     made
without        charging          any       commission                       or fee to the         Holders              of the Preference Shares



                                                On          the    Scheduled                  Preference               Shares           Redemption                 Date          the     Issuer         shall        redeem
the    Preference              Shares       for             redemption                  price     equal       to       all       amounts            distributable             to    the       Preference               Shares

Paying        Agent        for distribution                  to the           Holders           of the Preference Shares                                 pursuant          to the      Priority of Payments

set    forth    in the         Indenture               unless           the     Preference              Shares              have        been         redeemed              earlier       through             an    optional

redemption            or    otherwise                  Upon            final       payment             due    on        the       Preference               Shares          whether on                  the    Scheduled

Preference Shares                    Redemption                   Date        or               earlier                                   Date            the     Holder          thereof         shall present                and
                                                                                    any                  Redemption
surrender        the       certificates                                                          the     Preference Shares                              at the    office         of the Preference Shares
                                                     if     any        representing

Paying        Agent on            or    prior to             such           final    payment date                       On        the     Scheduled               Preference                Shares          Redemption
Date      all   payments               on redemption                         of Preference              Shares              to    the     Holders              of the Preference                   Shares           shall      be

made pro         rata       in   accordance                  with their respective                       holdings


                                Notice          of final payment                         of the Preference                        Shares            pursuant to             an     optional            redemption              in


conjunction            with       an    optional              redemption                   of the       Notes           shall           be     given        as    set      forth       in    Section           9.3       of the

Indenture             Notice          of any           other       final        payment            shall          be    given           by     the       Preference           Shares             Paying           Agent by
first-class       mail postage                   prepaid                mailed           not later than                    Days nor earlier than 30 days before
                                                                                                                        10 Business

the    applicable           Redemption                 Date            to    each       Holder         of Preference Shares at such Holders address as set forth

in the    Preference Share                      register



                                All notices               of redemption                   shall state



                                                                   the         Redemption                    Date            on         which            the     Preference                 Shares           are         to    be

               redeemed




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                                               ii                  the                                                                   Price         for     the        Preference                Shares             being
                                                                              applicable            Redemption
           redeemed


                                               iii                 the      place     or     places           where such                   Preference               Shares        to    be    redeemed                are     to

           be    surrendered                  for                           of the applicable                                                    Price        which          shall      be    the        office       of the
                                                      payment                                                   Redemption
           Preference                  Shares        Paying Agent                    and



                                               iv                  in the      case of an optional                            redemption                the    latest       possible          date        upon which
            such          notice       of redemption                    may     be     withdrawn


                                The     Issuer             shall      have      the    option            to    withdraw                   any     such        notice           of redemption                   up     to     the

fourth    Business              Day     before the scheduled                          Redemption                    Date           by written           notice           to the       Trustee            the    Servicer

      Preference                Shares                                                                                               Holders            of the           Preference            Shares and                    the
the                                           Paying          Agent for forwarding                                  to    the

Holding     Preference Shares                         Paying Agent for forwarding                                         to       the   Holders            of the Holding                Securities                 in   each

case only       if   either              in the            case of            redemption                pursuant to Section                            9.2a         of the Indenture                     the        Servicer

does not deliver                 the    sale                             or     certifications                required under                     the     Indenture               as    described               in    Section
                                                   agreement

9.3c      and    12.1f               of the Indenture as the case                                 may be             in        form satisfactory                    to    the    Trustee            ii     in the           case

of       redemption              pursuant            to     Section           9.2a          or    Section            9.2bi                 of the Indenture                      the    Issuer           receives            the

written    direction             of      Majority                of the Preference                   Shares              to    withdraw             the       notice        of redemption                  and        iii in

the   case of         redemption                   pursuant to Section                      9.2bii                  of the Indenture                        the     Issuer       receives           the    unanimous

written    direction                 of the Holders                of the Preference                     Shares               to    withdraw             the       notice        of redemption                      and      the

Issuer     thereby                             for     the         benefit          of the         directing                                 to        withdraw             the       applicable               notice         of
                                agrees                                                                                        person

redemption           if    it    receives           the     written           direction          referred           to        in the       preceding               clause        ii     or    this clause                 iii
Notice     of any          such        withdrawal             shall         be delivered            pursuant to Section 9.3 of the Indenture


                                Failure         to     give        notice           of redemption                        or                defect        therein            to    the     Preference                 Shares
                                                                                                                               any

Paying     Agent for forwarding                               to      the     Holders         of the Preference                           Shares            or the       Holding             Preference              Shares

Paying     Agent for forwarding                                  to     the     Holders           of the            Holding               Securities                shall      not     impair or               affect        the


validity    of the redemption                        of any           other     Preference Shares



                                                On         any     Payment             Date        on     or        after          payment             in    full    of the           Notes         so     long        as    all


administrative              fees        and         expenses             and        other     fees       without                   regard         to    any         payment            limitations                  payable
under     the   Priority              of Payments                including             the       Senior         Servicing                 Fee     and        the     Subordinated                  Servicing              Fee
all   amounts             owing under                  the       Indenture             and        all    amounts                   owing under                    the     Indenture            and        any         Hedge
Agreement            to    any Hedge                Counterparty                have        been        discharged



                                                                   at    the    direction           of                                   of the         Preference               Shares            the    Issuer           shall
                                                                                                                Majority
            cause the Trustee to make                                                       in    redemption                   of    all    of   the     Preference Shares                         in    an aggregate
                                                                        payments
            amount equal                      to     all    of the          proceeds             from         the    sale           or    other        disposition               of    all    of the           remaining

            Collateral                                 fees        and                           owed               the        Issuer                                the    Redemption                   Price        of any
                                              any                           expenses                          by                             including
                                                                                                                                                                                                           Preference
            Notes          being simultaneously                             redeemed                the       aggregate amount                          to    be     distributed              to    the

            Shares                                               for        distribution            to        the        Holders            of      the       Preference               Shares                        rata     in
                                Paying          Agent                                                                                                                                                    pro
            accordance                 with their respective                         holdings            or




                                                ii                 at    the        unanimous                 direction              of     the        Holders            of     the     Preference                  Shares

            voting              as       single            Class         or    group          the        Issuer           shall          cause         the     Trustee            to    make             payments             in

                                        of    all    or       directed                                                              less    than all of the Preference                                   Shares        to    the
            redemption                                                           portion          representing
            Preference                 Shares                                         for     distribution                    to    the     Holders           of the Preference                         Shares         based
                                                       Paying            Agent
            upon such                 direction




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                                                  If    any        Holder            of Preference                    Shares            desires       to      direct          the        Issuer          to    optionally

redeem        the        Notes        in      accordance                  with        Section             9.2a             of the        Indenture                such        Holder               shall       notify           the

Preference           Shares        Paying Agent                         the    Trustee           the      Issuer and              the    Servicer            not    later      than 45                 days    before the

Payment Date               on     which           the    redemption                  is   to   be     made            if    the   Preference Shares                      Paying               Agent           the    Trustee

and    the Issuer          receive           notice          from one            or       more Holders of Preference Shares holding                                                      less          than         Majority

of the Preference                 Shares               the    Preference Shares                        Paying          Agent        shall           within five            Business                    Days of        receipt

of such        notice          notify         the       Holders            of the          Preference                Shares        and        the     Holding            Preference                     Shares        Paying

Agent for forwarding                          to       the    Holders           of the Holding                       Securities                     of the receipt                 of such              notice       and        ii
that   any     Holder          of Preference Shares                            may        join      in directing             an optional              redemption               by        notifying             the    Issuer

the    Trustee           and     the     Preference                 Shares            Paying           Agent           in    writing           within           five     Business                  Days        after        such

Holders            receipt       of the Preference                       Shares           Paying          Agents             Notice            if    the     Holders           of       at    least           Majority            of

the    Preference Shares                     direct          the    Issuer       to optionally                   redeem           the    Notes            the     Issuer       shall effect                   an    Optional

Redemption               of the Notes                  pursuant to the procedures described in the Indenture


                                                  if               Holder            of    Preference                 Shares            desires         to      direct        the        Issuer          to        optionally
                                                        any
redeem        the        Preference               Shares           after       the    redemption                 or                             of the          Notes         and            in    accordance                  with
                                                                                                                       repayment

paragraphs              gi        and        ii above                   such     Holder              shall       notify       the       Preference              Shares         Paying                  Agent not later
than 30        Business            Days            or        with        the    Servicers                 consent            not    later        than 20 Business                            Days             prior       to    the


proposed           Redemption                Date        which            must        be         Payment Date                       Upon            receiving          such         notice              the    Preference

Shares       Paying            Agent         shall       promptly              and        in    no     event          later   than two Business                        Days thereafter                             notify       the

Issuer       and     each        Holder            of the Preference                        Shares             thereof            Each         Holder           of Preference                      Shares           that       also

wishes        to     direct       the      Issuer            to                            redeem              the    Preference               Shares           must          so    notify             the     Preference
                                                                   optionally

Shares       Paying            Agent         who         shall          promptly           notify         the     Issuer          and    the        Servicer        of such              direction                 within        20

Business           Days        after       receipt            of such           notice               if    the       aggregate            number             of Preference                        Shares           that     have

directed       the       Issuer     to       optionally             redeem            the      Preference              Shares           equals or exceeds                      the           minimum threshold
set    forth        in    paragraphs                   gi          and         ii above                   the     Issuer          shall        effect        an     optional                 redemption                   of    the

Preference               Shares          pursuant                  to     the        procedures                  described                in        the      Preference                      Share            Documents

Notwithstanding                   the      foregoing                the        Preference              Shares          must        be     redeemed                on     or        prior          to    the    Scheduled

Preference Shares                  Redemption                      Date         The        Preference Shares                       shall       be redeemed                 from the proceeds                              of any

Collateral          remaining              after        giving effect                to    the      redemption               or    repayment                 of the Notes                    and payment                  in    full


of    all   expenses           of the Co-Issuers



                                                  if    the       Servicer            on       behalf           of the       Issuer proposes                           Refinancing                      in    accordance

with        Section        9.7a          of the          Indenture               by       notice          to    the    Preference               Shares            Paying           Agent                the    Preference

Shares       Paying            Agent         shall       promptly                                          of such           notice       and         in     no event          later          than two Business
                                                                               upon        receipt

Days        thereafter           notify           each       Holder           of Preference                    Shares       thereof            Each          Holder        of Preference                       Shares           that

wishes to consent                  to    such          Refinancing               will deliver                  such    consent           to    the    Preference Shares                            Paying           Agent         in


writing       no     later     than 15            days       prior to the             Refinancing                 Date            Upon        receipt        of such           consents                 the    Preference

Shares       Paying Agent shall immediately                                          notify      the       Servicer          whether            or    not the Holders                        of        Majority            of the

Preference Shares                  have           consented              to    such Refinancing


                                Section                             Preference                 Shares          Distribution              Account                       On          or    prior          to    the    Closing

Date        the     Preference             Shares            Paying            Agent           shall      establish                single           segregated            non-interest                       bearing           trust

account           that     shall        be        designated              as     the       Preference                  Shares            Distribution               Account                       the        Preference
Shares        Distribution                   Account                    that    shall       be       held in trust in the name                               of the Preference                          Shares        Paying

Agent        for    the    benefit           of the Issuer over which the Preference                                                    Shares        Paying           Agent             shall         have        exclusive

control       and        the   sole      right         of withdrawal                      The Preference Shares                            Paying Agent shall cause                                     the        Trustee to

make        any      payment            pursuant              to    the       Priority          of Payments                  by     wire transfer                 or     by        internal             transfer           if    the

Trustee           and      the     Preference                     Shares         Paying              Agent            are    the        same         Person              to        the        Preference                  Shares

Distribution             Account             in    immediately                  available            funds            All    sums received by                      the    Preference                    Shares        Paying

Agent from the Trustee                                                                                                                  or other           distributions                                than the Class
                                                  or the Issuer                for    payment of dividends                                                                               other




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II   Preference        Share           Special            Payments               or the       Redemption               Price     in respect               of the Preference                           Shares         shall

be    deposited        promptly               in the        Preference              Shares          Distribution             Account            until      the        first      Payment Date                      or    in

the   case     of the                            of the Redemption                           Price       in respect          of the Preference                        Shares              the    first      Business
                            payment
Day      on     which             in     either            case        the       Issuer       notifies           the    Preference                 Shares             Paying              Agent            that      such

distribution          can    be        made          to     the       Holders          of the        Preference              Shares       in       accordance                   with        Section                   The

Preference           Shares                                            shall      then apply              such     funds        as    provided                 for        in    Section                    All       sums
                                   Paying             Agent
                             Preference                Shares                                                                                                         of the              Preference              Shares
payable        by    the                                                Paying          Agent hereunder                      shall       be    paid        out

Distribution          Account


                                                Notwithstanding                     anything             herein        the     Preference                Shares            Paying              Agent         shall     not

incur               personal                               to           amounts              due     to    Holders           of the Preference                        Shares              and    shall        only be
         any                           liability                 pay

required to          make         payments                 or     other      distributions               including            the    Redemption                      Price           thereof          if    there       are

sufficient          monies         in      the        Preference                 Shares        Distribution              Account              to        make          such           payments                or      other

distributions




                                                The Preference Shares Paying Agent                                           shall       have       no     right          of set off with respect                        to

amounts        on    deposit           in the        Preference              Shares       Distribution             Account


                                                Amounts                on    deposit          in    the    Preference           Shares             Distribution                  Account              that    are       not

paid out       may     be    deposited                in   an     interest-bearing                 account        as directed             in writing             by       the     Issuer



                             Section                              Unclaimed Payments                              Except        as       otherwise              required by applicable                                law

any     money         deposited               with          the       Preference              Shares        Paying           Agent and                  held         in        the    Preference                  Shares

Distribution          Account             or     otherwise              held for payment                     on any Preference                          Share         and       remaining               unclaimed

for   two years            after       such          payment            has      become            due     and     payable           shall      be       paid         to       the    Issuer          upon        Issuer


Request         and    the        Holder           of such            Preference             Share        shall   thereafter          look         only         to    the       Issuer          for   payment            of

such     amounts            and    all     liability             of the       Preference             Shares        Paying           Agent with                  respect              to    such       money but
only to       the     extent       of the            amounts            so     paid to         the       Issuer        shall    thereupon                cease                 The        Preference              Shares

                                                                                  make                                                                                    but shall not be required
Paying       Agent before being required                                    to                any     such       release       of payment                  may
to adopt        and    employ              at    the                         of the Issuer                    reasonable means of notification                                            of such          release       of
                                                           expense                                    any

payment         including               but not limited                   to arranging               with the Share                 Registrar            for the           Share           Registrar            to    mail

notice    of        such     release            to    Holders           of Preference                    Shares        whose         right         to    or     interest             in     monies           due       and

payable but not claimed                         is    determinable                from the records of the Issuer                              or    Preference Shares                            Paying Agent

as    applicable at the                last     address of record of each                            such Holder



                             Section                              Additional              Issuance          of Preference                 Shares                           At any              time during              the

                       Period            the Issuer                       issue        and    sell    additional             Preference Shares                       and        use       the                        from
Replacement                                                      may                                                                                                                             proceeds
such     issuance and              sale       to     purchase             additional           Collateral          Obligations or as otherwise                                       permitted under                    the

Preference           Share        Documents                     and    the       Indenture           provided           that    the       following                  conditions are                   met               the

terms     of the       Preference                    Shares           issued      shall       be     identical          to    the    terms              of previously                     issued       Preference

Shares       and     ii     the    net        proceeds             of any         additional             Preference           Shares          shall       be     used to purchase                          additional

Collateral          Obligations                 Such            additional         Preference              Shares        may        be    offered             and         sold       at    prices        that        differ

from     the    initial       offering               prices        of the         outstanding              Preference           Shares             provided                that       the       initial       offering

prices    of additional                 Preference                Shares         shall       not be       below 100%                 of the face                amount thereof                         The        Issuer

shall    cause        purchases                 of     additional                Preference              Shares        made                               to         an     additional                issuance           of
                                                                                                                                    pursuant
Preference           Shares        to    comply                 individually           and     in the       aggregate           with the                applicable              purchase              and     transfer

restrictions          for    the       Preference                 Shares         set    forth        herein       in    Section                and        all    applicable                    laws        rules       and

regulations           including                  without              limitation                         rules     regulations                and         procedures                      of    any         securities
                                                                                              any

exchange            self-regulatory                  organization                or clearing          agency




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                                                    Any          additional               Preference                    Shares             issued              shall         to        the     extent            reasonably

practicable be offered                            by     the Issuer              first   to    the existing                 Holders         of the Preference Shares                                 in    such        amounts

as are      necessary              to    preserve             their    pro        rata    holdings               of the Preference Shares



                                  Section                             Purchase                and        Redesignation                    of Preference                 Shares                       Each         Holder            or

beneficial           owner              of        Preference                Share by                its   ownership                 of such           Preference                  Share acknowledges                           and

                          each                                               Holder            of Preference                      Shares             with                               an     amendment                 of the
agrees that                             Non-Consenting                                                                                                          respect           to

Indenture            which              includes           Holders               that     fail       to    respond             to         consent               solicitation             within           the     applicable

period         will       be      forced          to     sell    its                                Preference               Shares                               to    Section 9.6                 of the        Indenture
                                                                       applicable                                                           pursuant

whereby             the    Amendment Buy-Out                                 Purchaser               is    permitted to purchase                               the Preference                 Shares            held by any

 such Non-Consenting                           Holder           thereof           at   the applicable                  Amendment Buy-Out                                Purchase              Price         provided           that

 if          Non-Consenting                       Holder          holds Class                  II   Preference               Shares                   such Non-Consenting                                Holder        will    sell
      any
 such       Class      II    Preference                  Shares        to        Investors           Corp             and     such        Preference                  Shares           will    be        redesignated               as

Class           Preference                   Shares           ii       Investors               Corp            will         issue      additional               Holding                Preference               Shares         in

number             equal          to    the       aggregate             number                of and             at          price        equal           to     the     price          of     such          redesignated

Preference             Shares            purchased                by        it    and         iii        the     Amendment Buy-Out                                    Purchaser               will        purchase         such

 additional          Holding             Preference Shares                         in lieu          of such           redesignated Preference Shares



                                                    Each Holder                    or beneficial                 owner of                 Preference              Share           will       have        the right to           sell


 such       Preference                 Share        to    an     Extension                Qualifying                   Purchaser                                  Maturity              Extension                pursuant           to
                                                                                                                                                upon
 Section        2.4       of the         Indenture               at    the        applicable              Extension               Purchase                Price        and        absent such               sale       shall        be

 subject       to    an extension                  of the Scheduled                      Preference                   Shares        Redemption                   Date        as set forth                in the    Indenture

 and    the other           aspects           of         Maturity Extension                          under            the    Indenture               provided           that       if   any     Holder            of Class          II


Preference            Shares            delivers          an Extension                   Sale Notice                  notifying           the Issuer             and    the       Trustee of              its    intention          to

 sell   all    or         portion            of    its    Class        II    Preference                  Shares                   such      Holder              will    sell       such       Class         II    Preference

 Shares        to    Investors               Corp and             such           Preference               Shares        will        be    redesignated                  as    Class            Preference               Shares

 ii     Investors           Corp             will      issue      additional              Holding              Preference                 Shares           in         number equal                   to    the     aggregate
 number of and                     at        price       equal to the price                         of such redesignated Preference Shares purchased                                                                by    it   and

 iii     the    Extension                Qualifying Purchaser                             will       purchase               such       additional              Holding            Preference               Shares        in lieu

 of such       redesignated Preference Shares



                                                    The         Share        Registrar              will       record         in the       register             maintained               by    it    those        Preference

 Shares        which         it    has been              notified           in writing              are    held by            HFP         or    any       of    its    subsidiaries                  Such Preference
 Shares        shall      be      designated by the Share                                Registrar             as     Class       II   Preference                Shares            HFP and                its    subsidiaries

 will    agree       not to transfer                     any     of the Class                  II    Preference               Shares            to    any       Person         including                  pursuant to           the

 Amendment Buy-Out                             Option            and             Maturity            Extension               as     set    out       in   paragraphs                         and                above     other

 than       Investors             Corp            The         Share         Registrar                will      redesignate                           Class       II    Preference               Shares            as    Class

 Preference Shares                      upon any              transfer            of such           Class        II    Preference               Shares          by     HFP         or    any        of    its    subsidiaries

 to    Investors          Corp           and       ii     Class              Preference                  Shares         as    Class        II    Preference              Shares                                   transfer          of
                                                                                                                                                                                             upon any
 Class         Preference Shares                         by     Investors              Corp         to    HFP         or any        of    its   subsidiaries




                                   Section                            Execution                     Delivery            and       Dating               The        certificates                if     required            by     the

 Resolutions                relating          to the          Preference               Shares            shall    be    executed                on behalf             of the Issuer                 as    provided        for       in

 the    Memorandum                      and    Articles           of Association



                                   At any time and                     from time               to    time after the execution                               and       delivery          of this Agreement                       the

 Issuer       may         deliver        Preference               Share            certificates             the Preference                            Share Certificates                                 executed        by     the

 Issuer       to     the     Preference                  Shares        Paying             Agent             and         the       Preference               Shares         Paying              Agent              upon    Issuer

 Order        shall       deliver            such Preference Share                            Certificates              as    provided               in this      Agreement                  and     not otherwise




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                                   Each              Preference Share                    Certificate                delivered               by      the    Preference Shares                          Paying Agent to or

             Issuer         Order           on        the                          Date        shall          be        dated       the        Closing        Date                 All    other            Preference                Share
upon                                                             Closing
Certificates               that       are       delivered           after the                                 Date           for               other                         under        this    Agreement                    shall          be
                                                                                         Closing                                    any                   purpose
dated        the date           of their delivery



                                      Section                           Registration                     and            Registration                 of     Transfer                        When                the         Preference

Shares                                               receives                                 for       transfer             of Preference                 Shares            the     Preference                  Shares         Paying
                 Paying           Agent                                     request

                                                                                                                                                    of Annex                  to the      Resolutions
Agent         shall        comply with                     its   obligations                as set forth                in    Section



                                                       No        transfer          of the Preference                          Shares           shall      be registered              if   such         transfer             will result

 in    persons           that      have          represented                that       they       are     Benefit Plan Investors                              as        defined           below owning 25%                                     or

 more        of       the                                  outstanding                 amount             of       either           the        Class         Preference                   Shares            or        the     Class            II
                              aggregate
Preference               Shares             immediately                     after       such         transfer             excluding                  for    purposes               of such            determination                       any
Preference               Shares             held           by any           Controlling                  Person               as      defined             below             and     its     affiliates                such          as        the

Preference               Shares            held by the Servicer                          or    its      affiliates             that       is   not also            Benefit Plan Investor                                determined

 in    accordance                with           Section           342            of    ERISA             and        the       Plan Asset Regulation                                issued        by        the       United          States


 Department                 of Labor and                        found       at     29 C.F.R Section 2510.3-101                                             the Plan                Asset         Regulation                          Each

                                                      of          Preference Share                                  be                                                       and                  whether               or not such
 purchaser or transferee                                                                                 will                required to represent                                   agree

 purchaser             is or          is   using the              assets          of     or will          at                 time throughout                   its      holding           and         disposition               of such
                                                                                                                any
 Preference              Share         be        or    become                      an    employee                       benefit          plan         as   defined            in    Section            33            of the        United

 States       Employee                Retirement                  Income              Security           Act of 1974 as amended                                    ERISA                     that          is    subject        to       Title

      of    ERISA ii                            plan             described              in   Section               4975c                       of the       Internal          Revenue                 Code            of     1986         the
 Code                 that       is   subject              to    Section           4975 of              the    Code or iii any                            entity       whose underlying                           assets        include


 plan         assets             of        any        of the           foregoing              by        reason               of an        investment               in        the    entity            by such                  plan            or

                             each                    Benefit Plan Investor                                         In    addition              each        purchaser              or transferee                  of         Preference
 arrangement
 Share        other          than the Servicer                         or    its   affiliates             will          be    required              to represent             and     agree whether                         or not        it    is

 or    is    using         the     assets            of      or    will      at               time throughout                            its   holding        and           disposition               of such               Preference
                                                                                      any
 Share        be      or     become                  the    Servicer              or               other                            that       has     discretionary                 authority                  or    control            with
                                                                                        any                        person

 respect         to   the       assets          of the Issuer                or         person           who        provides              investment              advice for                 fee       direct or indirect

 with respect                to the         assets          of the Issuer                or               affiliate                 as         defined       in the          Plan Asset Regulation                                  or    any
                                                                                               any
 such
             person          any           such        person                    Controlling                   Person                          If    after         purchasers                or        transferees                   initial


 acquisition             of Preference                      Shares           the       purchaser or transferee                                 determines              or    the    Issuer the Share Registrar

 or the          Preference                Shares               Paying                        obtain           actual              knowledge               that    such            purchaser               or transferee                  has
                                                                              Agent
 breached             any       of the          foregoing               representations such                                 purchaser or transferee                           will       dispose of                  its   interest           in

 the        Preference                Shares           in           manner               consistent                 with           the     requirements                     set     forth        in        Annex                    to        the

 Resolutions                  Each          purchaser or transferee                                 of         Preference                 Share        will       be    required            to    represent                 that     either

       it   is   not and              is    not acquiring such                          Preference                 Share           with the assets of an                           employee                     benefit        plan            as

 defined           under          Section             33          of    ERISA               and      that      is       subject           to    Title        of        ERISA              any     plan                 described               in

 Section          4975e               of the Code                  or        foreign              governmental                      or    church           plan subject              to    any        federal               state        local

 or foreign              law       that         is   substantially                 similar          to    Section              406 of ERISA                   or       Section            4975 of               the     Code         each
 such       plan            Covered Plan                               and       throughout               the       holding              of such Preference                        Share         it   will        not become                   or

 transfer          its   interest           to       any        Covered Plan                 or to       an entity                 using the assets thereof or                              ii        the        acquisition              and

                  of such Preference                             Share       by the purchaser or transferee                                          throughout               its    holding               and       disposition               of
 holding
 such Preference                      Share           will       not result in                    non-exempt                   prohibited              transaction                under     Section 406 of                      ERISA
 or    Section 4975 of the Code                                    or        in the          case of               foreign           governmental                  or       church         plan                 violation           of any

                                                                                                                                                                                                                               will
 substantially               similar             law             because           such       purchase                  holding            and       disposition              either                  is    not and                           not

 become               subject              to        such        laws        or               is        covered               by an            exemption                from         all     applicable                     prohibited

 transactions                all      of the conditions                      of which             are     and           will   be satisfied upon                       its   acquisition               of and               throughout

 its                     and                                     of such Preference Share                                      Each purchaser                     or transferee              of             Preference               Share
       holding                     disposition

 will       be required               to    represent             and       agree        that      it    will      not transfer                 such Preference Share                            in violation                 of any of

 the       foregoing            representations                    and        agreements                  that                     purported           transfer             that    does     not comply with such
                                                                                                                        any



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 representations                     and agreements                        will    be     null    and           void       ab       initio          and     will          vest        in    the      transferee             no     rights

 against        the        Preference                 Shares           Paying           Agent         or        the        Issuer             and        that        such            purchaser              or      transferee as

 applicable            and            any     fiduciary               or    other       Person          causing                it   to    acquire           such           Preference                     Share       shall        to    the

 fullest extent             permissible under                          applicable           law indemnify                           and       hold harmless the Issuer the Co-Issuer                                                     the

 Trustee         the        Preference                Share           Paying        Agent            the        Servicer             the       Share         Registrar                    the       Initial      Purchaser               the

 Placement            Agent and                  their respective                   affiliates        from any                  cost       damage               or loss incurred                         by them          as       result

 of any     transfer             in violation               of any of the foregoing



                                                      The        Preference               Shares          Paying               Agent agrees that                           after          the       initial      distribution             of

 the    Class              Notes           and     the      Preference               Shares           neither                   nor any             of    its    affiliates               will       acquire                   Class
                                                                                                                          it
                                                                                                                                                                                                                      any
 Notes      or       Preference                  Shares          including                pursuant              to             Maturity             Extension                   or    the       Amendment Buy-Out
                                                                            would not                                                                                                               in                                have
 Option          unless               such       acquisition                                         as    determined                     by        the    Trustee                   result               persons that

 represented that they are Benefit Plan Investors                                                         owning               25%        or   more of            the          aggregate outstanding                            amount
 of any     of the Class                         Notes           the       Class          Preference                 Shares          or the          Class           II    Preference                    Shares       immediately
 after    such        acquisition                determined                  in    accordance              with Section                    342            of    ERISA                 the      Plan Asset Regulation

 the    Indenture               and        the   Preference                 Share         Documents                       The        Class                Notes            and        the      Preference              Shares           held

 by the Preference                         Shares          Paying           Agent or any                   of    its      affiliates           as         defined              in the          Plan Asset Regulation

 that    have         represented                 that      they           are    Controlling                Persons                will       be    disregarded                      and       will       not      be     treated        as

 outstanding               for        purposes             of determining                   compliance                     with          such        25%          limitation                   to    the       extent       that        such

 person has represented that                                it    is   not         Benefit Plan Investor



                                                      Notwithstanding                      anything                  else           contained              herein               to     the          contrary             neither         the

 Preference Shares                         Paying          Agent nor              the     Share       Registrar                 shall      be       responsible                  for ascertaining                     whether           any

 purchase            or transfer              complies                with the registration                          provisions of or exemptions                                           from           the    Securities             Act
 applicable            state           laws        the      Code ERISA                         the    Plan            Asset          Regulation                  or        the       Investment                  Company Act
                                                                                                                                                                                                               express terms of
 provided            that       if      certificate          or other             written        representation                      is    specifically                   required             by    the

 this    Agreement                    or     Section               of Annex                     to    the        Resolutions                    to    be        delivered                 to    the       Preference             Shares

 Paying         Agent by                the      purchaser or transferee                             of         Preference                 Share           the        Preference                    Shares          Paying         Agent
 shall     be        under                 duty       to   receive            and       examine              the          same       to        determine                  whether              the        same        substantially

 conforms             on        its    face with            the        terms       of this Agreement                            or Section                      of Annex                        to       the    Resolutions               as

 applicable             and           shall      promptly               notify       the    party          delivering                 the       same         if      such            certificate            does         not comply

 with such terms



                                                      The        Issuer           shall    and        shall           cause          the       Share        Registrar                 to       consult           the      Preference

 Shares     Paying               Agent           in    connection                 with    all    transfers                of Preference                   Shares               and     shall             and     shall      cause        the

 Share      Registrar                  to     direct        all        transferors          and         transferees                  to    correspond                      through              the       Preference             Shares

 Paying         Agent                 The        Share       Registrar              will       not      be      required to                    determine                  whether              any        proposed             transfer


 redemption                 or        other       transaction                in    relation           to        the       Preference                 Shares               complies                  with        any      restrictions

 imposed             by law            or     under         the        terms        of the        Indenture                    or   the        Preference                  Share           Documents                  but      shall      be

 entitled       to rely           completely               in that                        on     the Issuer                or the         Preference                 Shares Paying                        Agent
                                                                            respect



                                                      In    the       event        that    the    Preference                    Shares          Paying Agent                         is    notified            by   the     Issuer       or
 the    Servicer            on        behalf      of the Issuer that any                             Holder            of Preference                      Shares           has failed                to    provide         the     Issuer

 with the            applicable               United         States           federal       income              tax        certifications                  the        Preference                    Shares          Paying         Agent
 shall    notify        the          Share       Registrar              and       request        that      it   not record such                       transfer                  Except              as    expressly provided
 herein         or    as        required by                 this        Agreement                in       connection                     with        the     Preference                     Shares              Paying         Agents
 obligations               to        the    Holders              of     Preference              Shares               the       Preference                  Shares              Paying               Agent        shall         have       no

                                                                                    any such
 obligation           to    oversee              or participate               in                      transfer                 of Preference Shares



                                      Section          10                  Fees     and     Indemnification                               The        fee        to        be    paid           in    connection                with      the

 Preference             Shares              Paying          Agents               appointment                 and          duties         as    Preference                      Shares          Paying            Agent         shall      be




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paid pursuant               to         letter    agreement                dated       March         13 2007            between              the       Preference                  Shares          Paying             Agent
the     Holding        Preference                Shares         Paying          Agent           the     Servicer           on behalf              of Investors                    Corp            and     the        Issuer

The     fees   payable hereunder shall be paid by the Issuer                                                  to the       Preference Shares                           Paying Agents                       account           as

 directed      by    the     Preference               Shares         Paying          Agent         The        Issuer        will      indemnify                  the     Preference                Shares           Paying

Agent and            its    officers            directors            employees             and     agents            against          any       loss         liability           or     expense            including

reasonable                             fees     and                                                             of     counsel                 incurred                in     connection                  with            their
                      legal                               out-of-pocket                    expenses

 appointment              and         duties     hereunder                except       such        as    result       from           their      own          gross          negligence                  bad         faith    or

 willful     misconduct                                                    the                            the    Preference                Shares            Paying Agent agrees that                                     such
                                           Notwithstanding                           foregoing
 fees    and    indemnification                      shall      be    treated         as    an     Administrative                    Expense of                    the      Issuer         as      defined            in    the

 Indenture       and        paid pursuant to the Priority of Payments                                                Anything              in this          Agreement                   notwithstanding                      in

 no event       shall the             Preference          Shares          Paying Agent be                     liable for         special indirect                        or   consequential                     losses       or

 damages of any                   kind         whatsoever             including              but       not     limited          to    loss       of profits                   even           if   the     Preference

 Shares      Paying         Agent has been                     advised of such                   loss    or damage               and       regardless                  of the form of action                               The

 obligation          of the           Issuer     to                            the     Preference              Shares           Paying           Agent under                      this        Section           10        shall
                                                       indemnify
 survive       retirement                  of the     Preference            Shares           and                resignation                or     removal                of the Preference                           Shares
                                                                                                        any

 Paying Agent but shall remain                                 subject      to the         provisions of Section                       23


                                 Section         11              Liabilities                       The         Preference                 Shares                 Paying           Agent             shall           not     be

 responsible          or     accountable                  to                    for                reason        whatsoever                    with         respect              to    the        validity           of this
                                                                anyone                  any

 Agreement           or     of the Preference                    Shares         or    for               act    done        or   omitted           by        it    in   good           faith       or for        anything
                                                                                             any
 whatsoever           in    connection                with this Agreement                         except for           its      own         gross        negligence                     bad       faith        or    willful

 misconduct            in    the           performance            of any            duty     to    be     performed                  by    the        Preference                  Shares            Paying            Agent
 hereunder



                                                 The Preference Shares Paying Agent may                                                consult           as to legal                  matters with lawyers

 selected      with due               care      by   it   who may              be     employees               of or regular               independent                    counsel to the Issuer and

 the    Preference           Shares           Paying Agent shall be protected                                  from and              shall incur             no        liability        for action              taken        or

 suffered       to    be     taken            with respect            to    such       matters           in    good         faith      and        in    accordance                     with        the     opinion           or

 advice of such              lawyers


                                                 The      Preference             Shares           Paying        Agent           shall       be        protected             from         and        shall       incur       no

 liability     for     or        in    respect        of any         action          taken        or    thing        suffered             by     it    in        reliance             upon any            Preference

 Shares        notice        direction               consent          certificate            affidavit          statement or other                           paper          or        document            reasonably
 believed       by     it    to       be    genuine        and       to   have        been        delivered           or    signed by the proper                                 parties           except           as     may
 result      from     its    own            gross     negligence                bad     faith       or    willful          misconduct                  or        that       of    its    directors              officers

 employees           or     agents


                                                 The      Preference             Shares          Paying         Agent           shall       not be           under            any       liability         for       interest

 on    any     money         at       any     time received               by    it
                                                                                      pursuant to             any     of the provisions                           of this Agreement                            except        as

 otherwise       agreed               in writing       with the Issuer



                                                 The Preference                  Shares                         Agent           shall      not incur                                              with respect               to
                                                                                                 Paying                                                               any     liability


 the    validity      or value of any                  of the Preference Shares                          unless        otherwise                specified              herein



                                 Section         12              Conflicts                       The      Preference                  Shares           Paying               Agent             and        its    officers

 directors      and        employees             may           subject     to    the restrictions               set forth            in    Section               9c         become            the    Holder               of or

 acquire       any     interest            in any      Preference               Shares           with the         same          rights         that     it       or    they would have                         if    it   were

 not     the    Preference                   Shares       Paying           Agent           hereunder              or       they        were            not         such          officers            directors               or

 employees and                                                  be                                                                                                     with      the Issuer             and
                                 may        engage        or          interested           in    any     fiscal or          other         transaction                                                               may     act

 on     or as depository trustee                          or agent         for any          committee            or    body of Holders of Preference Shares                                                         or other




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 indebtedness of the Issuer                               as freely          as   if   it   were         not the Preference Shares                             Paying          Agent hereunder                         or    they

were      not such officers                        directors           or    employees


                                                     The Preference Shares Paying Agent                                                shall    be    obliged            to    perform           such        duties           and

only such          duties          as    are specifically                    set forth         herein           and       no implied            duties         or obligations                  shall       be read into

this    Agreement                  or    the       Indenture            against             the     Preference              Shares           Paying       Agent               Except            for    Section                  of

Annex              to    the       Resolutions                  to     the    extent          they do           not contradict                 this   Agreement                     the     Preference                 Shares

Paying        Agent           shall        have           no    duties        under           Annex                  to    the    Resolutions                   The       Preference                 Shares            Paying

Agent                    not be          under                                                                                    hereunder                                   tend to           involve                 in
             shall                                        any    obligation              to    take       any        action                              that      may                                            it
                                                                                                                                                                                                                              any
                   or    liability             the        payment            of which               within                reasonable           time       is    not       in       its   reasonable               opinion
 expenses
 assured to             it         The        Preference               Shares          Paying             Agent            shall        not    be     accountable                   or    under        any         duty         or

 responsibility               in   case        of any           default       of which              the     Preference                 Shares       Paying          Agent has knowledge                                 by the

 Issuer      in the          performance                   of    its    obligations                contained              in the        Memorandum                      and        Articles          of Association

 and    Annex                 to     the       Resolutions               including                  without            limitation             any     duty         or    responsibility                to    initiate           or

 attempt      to     initiate
                                         any       proceedings                at    law        or    otherwise              or     to    make         any       demand              for    payment               upon          the


 Issuer


                                                     In    acting        under           this       Agreement                   the     Preference              Shares         Paying            Agent           is     acting

 solely      as   agent           of the Issuer                and     does not assume any                             obligations             to    or relationship                 of agency              or trust for

 or    with any          of the          owners            or   Holders            of the Preference                       Shares             All    funds held by                   the       Preference              Shares

 Paying Agent for payment                                  on the Preference Shares                              shall      be held in trust for the Issuer until paid



                                                     The        Preference             Shares            Paying           Agent         shall       as   between              itself       and       the    Holders             of

 the   Preference              Shares              with respect              to    all      the     obligations                 powers          authorities             and        discretions              vested in            it



 hereunder          and        under           the        Memorandum                     and       Articles            of Association                 and       the      Resolutions                  have        absolute

 and    uncontrolled                 discretion                as to    the       exercise          thereof          whether            in relation           to   the    manner or                  as to       the        mode
 of    and    time           for        the     exercise              thereof          and          in    the        absence            of                negligence                     bad     faith       or        willful
                                                                                                                                               gross
 misconduct             on     its      part    or that          of    its   officers             directors          or    employees             shall      be in no way                   responsible                 for    any

 loss costs             damages                    inconvenience                   that                  result      from the exercise                         non-exercise                 thereof
                                           or                                                may                                                         or



                                   Section 13                          Amendment                            This Agreement                      may be amended                           by the parties hereto
 without      the       consent            of the Holders                    of any Preference                       Shares            for the                          of curing                     ambiguity                 or
                                                                                                                                                     purpose                                   any
 of curing                                                                                                        provision contained                                                     regard to matters or
                   correcting                 or   supplementing                    any defective                                                             herein          or in

 questions         arising           under           this      Agreement               as     the    Issuer          and     the       Preference             Shares          Paying           Agent may deem
 necessary          or       desirable             and         which         shall          not     materially             adversely            affect         the      interests           of Holders                  of the

 Preference             Shares            provided              that      Sections             2f         and              of this Agreement                       may        not be           amended                 without

 the   consent          of the Majority                    of the Controlling                       Class         In      addition           this   Agreement                 may be amended                           without

 the    consent              of                Holders            of     the       Preference                Shares              and     without            regard            to     whether           or        not         such
                                   any
 amendment adversely                            affects          the     interest           of the        Holders           of the Preference                      Shares           in   order to prevent                      the

 Issuer      from becoming                         an     investment               company                 as     defined             in the     Investment               Company                Act        or    to        better

 assure      compliance                   with the              requirements                  of Rule           3a-7 and/or               to    remove             transfer          restrictions                and        other

 requirements                relating           to      Section          3c7                provided            that        as          condition to               the    effectiveness                    of any            such

 supplemental                 indenture                 each         of the        Issuer the               Trustee              the     Preference                Shares          Paying            Agent and                 the

 Servicer         shall        have           received                 customary                  opinion         of counsel                  which may                  be    supported               as    to        factual

 matters by any                   relevant           certificates            or other             documents               necessary or advisable                         in the          judgment of counsel

 delivering         such           opinion              from           nationally             recognized                  law firm providing that                         after          giving effect                 to    such

 amendment                   the    Issuer                                   from                                    as    an    investment                 company                  under           the    Investment
                                                     is    exempt                        registration

 Company Act                  in reliance               on the exemption                      provided            by Rule             3a-7




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                                                  Unless            otherwise                                 forth       in    subsection                      above           this      Agreement                          be
                                                                                             as        set                                                                                                           may
 amended             with       the       consent           of Holders                  of         Majority             of the        Preference               Shares        materially                  and        adversely
 affected        thereby



                                                  Any amendment                              to    this       Agreement                must        be     in    writing           executed               by    each     party

 hereto



                                                  The        Preference                  Shares             Paying        Agent         shall      be     entitled         to     receive               and    subject         to

 its    duties       and       obligations             herein            shall      be       fully          protected          in relying           upon         an     opinion           of counsel                 consent

 or certificate            of the Issuer               in    determining                  whether             or    not any proposed                     amendment                 is    permitted hereunder



                                                  Any amendment                               to       this        Agreement                that     would         necessitate                          change         to    the

 Memorandum and                            Articles          of Association             may only be made                                          after          Special           Resolution                  as     therein


 defined          has been            passed           to   permit the              Memorandum and Articles                                       of Association                  to    be altered             to    conform

 with such proposed                        amendment


                                    Section 14                      Resignation                     or       Removal            of the        Preference               Shares            Paying              Agent          The
 Preference               Shares       Paying Agent                                                time resign            as the        Preference Shares                                          Agent by giving
                                                                    may            at   any                                                                                     Paying
 written        notice         to     the    Issuer          of   its    resignation                    specifying             the     date        on which            its   resignation                  shall      become
 effective        which             date     shall          not be less than 60 days                               after the          date    on     which such              notice           is   given         unless      the

 Issuer        shall      agree       to        shorter       period                The        Issuer         may remove                the       Preference            Shares           Paying              Agent     at    any
 time by         giving written                   notice          of not less than 60 days                              to     the     Preference              Shares        Paying            Agent            specifying

 the     date     on       which such                  removal           shall          become               effective            Such            resignation           or      removal              shall          only take
 effect        upon       the       appointment               by    the       Issuer              of         successor Preference                         Shares       Paying            Agent and                  upon     the


 acceptance               of such          appointment               by       such           successor Preference                           Shares        Paying        Agent             provided                  however
                       successor Preference                          Shares                                                                                                                   60 days           after       such
 that     if   the                                                                       Paying             Agent has not been                          appointed            within

 notice        of resignation                or    removal               then the Preference                            Shares         Paying           Agent         or                Holder           of Preference
                                                                                                                                                                             any
 Shares          may            on behalf               of    himself               and           others           similarly           situated            petition          any         court           of     competent

 jurisdiction             for    the       appointment                  of         successor Preference                           Shares           Paying         Agent                provided               further that

 after the retirement                      of the Notes                 if   the Issuer                determines              that    no     material          distributions                 will       be paid on          the

 Preference               Shares           the    Issuer          may remove                       the       Preference           Shares           Paying         Agent            at    any       time by giving
 written         notice         of not          less    than        10       days and                  assume           the     duties        of     the       Preference               Shares           Paying        Agent
 itself




                                    Section        15               Assignment                          No     party       hereto            may     assign        or    novate           any           of    its   rights     or

 obligations              hereunder except with the prior written                                                  consent       of    all    the parties          hereto



                                    Section        16               Merger                   Conversion                    Consolidation                    or     Succession                      to        Business          of

 Preference               Shares          Paying            Agent            Any         entity             into    which         the        Preference           Shares               Paying           Agent may be
 merged          or       converted             or with           which            it
                                                                                         may           be    consolidated                or       any     entity        resulting             from any                merger
 conversion               or    consolidation                  to    which               the       Preference              Shares            Paying            Agent         is          party           or     any     entity

 succeeding               to    all    or       substantially                all        of the                               trust      business           of the          Preference                   Shares        Paying
                                                                                                       corporate

 Agent          shall      be       the     successor of the Preference                                      Shares        Paying            Agent under               this       Agreement                    without       the

 execution            or filing           of any paper              or    any further                  act    on    the    part       of any        of the parties hereto



                                    Section        17               Reports and                    Notices              The      Issuer       hereby authorizes                         the    Preference Shares

 Paying         Agent          to deliver          or request             the      Trustee to deliver                      all    Monthly Reports and                             Valuation              Reports each

       Report               and        collectively                 Reports                        prepared             pursuant             to    the     Indenture               to     the       Holders            of the

 Preference               Shares          and     the       Preference                  Shares          Paying          Agent          shall       deliver         or      shall         cause          the     Trustee        to

 deliver
                     copy        of any           such        Report           to       such           Holders          within         two Business Days                           of receipt                 of any        such

 Report              In    addition              the    Preference                 Shares              Paying           Agent         shall        deliver        or     shall          cause           the     Trustee        to




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deliver                      of any       other         notice           or    information that                               has received from                      the        Trustee under                    the    Indenture
                 copy                                                                                                   it



to    the     Holders          of     the        Preference                   Shares           within              two         Business               Days           of receipt              of        such           notice           and

information                 Any     notices            or     information                 to       be    delivered               by       the        Preference             Shares           Paying              Agent           to    the

Holders        of the Preference                    Shares                                    to this         Agreement                   shall       be    delivered                in   each         case                 by    first-
                                                                        pursuant
class       mail postage                                      to        each       Holder               of           Preference                  Share          at        the    address              appearing                  in    the
                                       prepaid
Preference            Share register               or    ii with                                to delivery                   of the Reports                    by making                 such Reports                   available
                                                                               respect

via     its    internet        website              initially             located             at     http//www.cdocalc.com/ibtlcdo/                                                       All     information                     made
available        on     the    Preference                Shares           Paying              Agents               website           shall           be    restricted            and       the    Preference                 Shares

Paying         Agent        shall     only provide                      access          to     such          reports            to   those parties entitled                            thereto             pursuant              to    the

Preference            Shares        Paying             Agency             Agreement                      In       connection                   with        providing             access           to       its    website              the

Preference            Shares        Paying          Agent may                   require             registration                 and          the    acceptance                 of        disclaimer                    Questions

regarding         the       Preference            Shares            Paying          Agents website may be                                       directed             to    the    Preference                 Shares          Paying

Agents customer                    service         desk        at    617           937-5585


                              Section            18                 Notices                         All communications                                by   or    on behalf of                the       Issuer          relating          to

the    transfer        or    payment             of         Preference                  Share           or    any            interest         therein        shall         be    directed             to    the        Preference

Shares        Paying         Agent     at        its   address set forth                       in clause                bii below                         The Preference Shares Paying Agent
shall    mail any           notice     it    receives               from       the      Trustee for forwarding                                      to the      Holders              of the Preference Shares

to the      Holders         of the Preference Shares                               on     the       Business Day                     it       receives          such notice



                              Where          this        Agreement                   provides                 for       notice           to    Holders           of the Preference                           Shares          of any

event         such notice          shall     be sufficiently                       given unless                    otherwise                  herein       expressly provided                              if    such notice                is


in    writing         and    mailed          first-class                 postage          prepaid                  to each           Holder               of the          Preference              Shares              affected          by

such     event         at   such     Holders address                          as   it
                                                                                        appears               on the Preference Share                                register             not later than the                      latest


date     and     not earlier than the earliest date                                      prescribed for the giving of such notice



                              Neither            the     failure          to       mail such                 notice             nor any              defect       in
                                                                                                                                                                           any       notice        so       mailed               to    any

particular         Holder          of Preference                    Shares           shall          affect          the        sufficiency                of such           notice           with respect                   to    other

Holders          Any         notice       that      is   given           in the         manner               herein           provided               shall      conclusively                 be    presumed                 to        have

been        duly      given        whether               or    not        actually             received                 by       such          Holder                Any         notice           to       Holders               of     the

Preference            Shares        provided                for      in this            Agreement                   will        be       deemed            to    have           been        given           on        the   date         of

mailing



                              Any      notice               by any             Holder              of Holding                   Securities                delivered             to     the      Holding                Preference

Shares         Paying        Agent          shall        be     treated            by     the       Preference                   Shares              Paying          Agent            for       the    purposes              of this

Agreement              as      notice            by           Holder           of Preference                      Shares            with respect                to         number of Preference                                  Shares

equal to the number                    of Holding                   Preference                 Shares             with respect                  to    which such                 notice         relates               delivered             to

the    Preference            Shares         Paying            Agent on               the       same           date           such    notice           is   delivered             to    the       Holding               Preference

Shares Paying                Agent


                              Where                      Agreement                                                                                    manner              such       notice                      be     waived              in
                                             this                                   provides              for       notice           in   any                                                      may
writing        by any         Person         entitled              to    receive              such       notice               either          before       or after the                event           and such              waiver

shall    be the equivalent                  of such            notice



                              In    the     event           that by            reason of the suspension                                       of the regular                    mail service                as         result          of

strike        work                          or    similar activity                             shall         be                                 to    mail notice                of any          event           to    Holders              of
                        stoppage                                                         it
                                                                                                                   impractical

the     Preference            Shares             when          such           notice           is       required to                  be        given                              to                  provision              of        this
                                                                                                                                                            pursuant                      any

Agreement              then any        manner of giving such                                   notice             as shall          be    satisfactory               to the          Preference Shares                       Paying

Agent         shall    be deemed             to    be         sufficient             giving of such notice




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                                             Notices             and         other          communications                       hereunder                shall       except             to     the       extent

otherwise        expressly provided                        be     in writing           and      shall          be     addressed           as    follows          or to      such        other       addresses

as the parties          hereto shall specify                     from time             to    time


                                                                if   to the      Issuer



                                             Eastland            CLO          Ltd
                                             P.O Box                 1234

                                              Queensgate                  House        South         Church            Street


                                              George           Town          Grand Cayman KY1-l 108

                                              Cayman Islands
                                              Fax 345 945-6265
                                              Attention               The        Directors




                                              ii                if   to the      Preference Shares                      Paying Agent



                                              Investors              Bank          Trust       Company
                                              200 Clarendon                   Street               Floor

                                              Mailcode                EUC        108

                                              Boston            MA         02116
                                              Fax        617              351-4358

                                              Attention               CDO          Services Group



                             Section          19                Covenants              of the Issuer                   The      Issuer         shall      not take          any    action          under       this

                            the   Indenture             that                       the       authorization                   direction         or   consent           from       the     Holders          of the
 Agreement            or                                         requires

Preference            Shares       without                                  such       authorization                    direction          or    consent             from        the    Holders           of the
                                                     obtaining
 Preference           Shares           It    shall      be      the       responsibility              of the          Issuer        to    satisfy         the    Preference              Shares          Paying

 Agent     as    to   the    compliance                 with the foregoing                     condition               on      which       the      Preference              Shares           Paying       Agent
                on     in   good faith
 may     rely



                             Section          20                Transfer           of Issuer          Ordinary               Shares            For so long as any                  of the Preference

 Shares    are        Outstanding             the       Issuer        shall       not agree               to    the    transfer          of any        Issuer        Ordinary            Shares          to    U.S
 Persons        as    defined          in    the    Code              and     shall      not transfer                 any     such        Issuer       Ordinary            Shares        to     any      Person

 other    than        Person       which           is      resident          of the         Cayman             Islands



                             Section          21                Certain Tax                  Matters                            On demand                  of        the    Issuer                 Holder        or

 beneficial       owner           of        Preference                Share        will      notify            the    Issuer        whether          or    not       the    Holder            or   beneficial

 owner of such              Preference             Share         is        United           States
                                                                                                          person within                  the    meaning of Section 770                             1a30          of

 the     Code     and       the    name           and      status          of such           Holder            or     beneficial          owner           as    an     individual              partnership
                       or other                      and       such        other     infonnation                 as the       Issuer       shall     reasonably request                       for
 corporation                           entity                                                                                                                                                           purposes
 of tax reporting            of the Issuer              or other           Holders          of the Preference                    Shares



                                              The       Issuer        will       cause       the     Independent                accountants               to    make             determination                as to

 whether              Holders           investment                   in    the     Preference                  Shares         has    become                    reportable               transaction              as

 described in Treasury                  Regulation               Section           1.6011-4 because                         after the          Closing         Date        the    Issuer       entered into

   transaction             whereby          the    Issuer        recognized                  significant              loss     or   otherwise              If   the    Holders               investment          in

 the   Preference           Shares          has become               such          reportable                  transaction               then the Issuer              shall      provide           to   Holders

 of Preference             Shares       any       information available                       to     it    which may be reasonably necessary                                           for    such      Holders

 of Preference             Shares      to comply with any                          disclosure             requirements               under          Section 6011              of the Code                and    the


 Treasury       Regulations             promulgated                   thereunder             with respect               to    its   investment            in the       Preference             Shares




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                                                        The         Issuer           will        provide           or      cause            to     be        provided               to     each       Holder              or     beneficial

 owner of               the   Preference                  Shares          or               designee                              written                                therefor            any       information that                       such
                                                                                    its                           upon                                request

 Holder         or beneficial                   owner reasonably                                             to assist               such        Holder            or beneficial                owner with regard                            to    its
                                                                                           requests

 or    its   equity           owners            U.S          federal           income            tax    filing         requirements



                                                        Each          Holder               and     beneficial               owner             of the              Preference               Shares                                                 the
                                                                                                                                                                                                           agrees to                  treat

 Preference               Shares           as equity                of the Issuer                 and       the       Notes            as    debt of the                  Issuer           for    U.S           federal              state    and

 local       income            tax    purposes                 if   applicable


                                                        The         Issuer          will     make           an    election              to       be     treated          as         partnership and                         will take             all



 necessary               actions           to    maintain                its     status          as         partnership                  or            if    the        Issuer        is    treated          as      owned             by     one

 person            as         disregarded               entity           of such           person           for       U.S        federal              income            tax    purposes



                                                        The         Issuer       shall       not participate                    in    listing         or including               the Class                 Notes          or Preference

 Shares on               or    in           Established                   Securities              Markets              and       shall           not       participate             in establishing                   any       Established
                                     any
 Securities              Market        for       its    Class                 Notes         or Preference                  Shares                In    addition               the Issuer          shall         not       recognize               any
 transfers              made on any               Established                  Securities              Markets             with respect                     to    its   Class              Notes        or Preference                   Shares

                                    transfers           of                financial              instrument                other         than          the        Senior       Notes             or    contract             the       value        of
 including               any                                   any
 which        is    determined              in    whole             or   in    part        by reference               to   the       Issuer



                                                        Transfers               of Preference Shares                                                                made upon                                                   Preference
                                                                                                                                     may         only be                                     receipt            by     the

 Shares            Paying            Agent of                            appropriate                  documentation                         required               under           the      Code           and         the      applicable

 Treasury               regulations              establishing                   that        the    beneficial               owner             of the Preference                            Shares          to     be      transferred               is


 either        not             U.S         person              e.g an                 IRS Form                   W-8BEN                     or        an     IRS Form                    W-8IMY                 with           appropriate

 attachments                   or          U.S          person    e.g                  an        IRS Form                  W-9          and                  if     such       beneficial              owner              of Preference

 Shares            to    be transferred                   is   treated          as          partnership S-corporation                                        or     grantor           trust for         U.S          federal           income

 tax     purposes                    written           representation                      from such             beneficial                 owner            that             there        will    not be            any        interests           in

 such        beneficial             owner where                     substantially                 all   of the value of such                                interest          is    attributable             to      the     value of the

 Preference               Shares           proposed                 to    be        transferred              to       such           beneficial              owner             together           with          the       value         of any

 Class              Notes Holding                         Securities                and      Preference                Shares            already                 held by such                beneficial                owner and                  ii
 such        beneficial              owner           is   not            part       of any         arrangement                         principal                 purpose            of which            is   to      cause the Class

       Notes            and     Preference                   Shares            to    be      treated         as       owned             by 100                                   or      less     within           the         meaning             of
                                                                                                                                                             persons

 Treasury               Regulation              section             1.7704-1h                     In    addition                neither           the       Preference Shares                         Paying            Agent nor the
 Issuer        shall          recognize any                    transfers            of Preference                  Shares              and        any        such proposed                   transfer             shall        be null and

 void         if          the       proposed              transfer            will        cause the Issuer                      to    have        more than                ninety-nine                beneficial                owners            as
 determined                   for                            of the                                     of Treasury                                                  section             1.7704-1h                     of      its    Class
                                     purposes                                 provisions                                               Regulation
 Notes         and        Preference                 Shares          unless           it    receives         the       consent               of       all    of the Holders                  of the Preference                          Shares

 and     an Opinion                  of Counsel                 to       the effect           that      Holders             of the Notes                         will    not recognize                  gain         or     loss      for     U.S
 federal           income            tax    purposes                as         result        of such         transfer                 and        will       be     subject          to     U.S        federal          income            tax       on

 the     same amounts                      in the          same manner and                             at the         same times                  as       would have                been        the       case      if     such       transfer


 had      not been             made         or               such transfer                  was made pursuant                               to         trade        on    an Established                     Securities                Market
 The         Preference              Shares            Paying            Agent             shall       be   entitled             to     rely          on     the        information               set forth            in the          transfer

 certificates                 received                                                                                     in                           of       the      number             of       beneficial                owners             of
                                                  pursuant                to        this     Agreement                               respect

 Preference               Shares           and                                               Trustee                                         and                                           the    information                         receives
                                                       shall        contact          the                         to    request                          may         rely      upon                                               it



 from        the        Trustee        with respect                      to     the        number of              beneficial                owners               of the Class                     Notes              The Preference
 Shares            Paying           Agent         shall         provide              upon         request             by    the        Trustee               the        number of            beneficial                 owners           of the

 Preference                   Shares            in     reliance                             the        transfer            certificates                     received                                  to     the        terms          of         this
                                                                              upon                                                                                             pursuant

 Agreement


                                     Section              22                  Minimum Lots                        Preference                     Shares            must        be     held in         minimum lots                      of 100

 Preference Shares                                                       and                                                of one           Preference                  Share in excess                     thereof
                                           per investor                             integral          multiples




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                           Section           23               Limited         Recourse                 No         Petition              The      Preference              Shares       Paying            Agent
hereby        acknowledges                and                       that    the     Issuers                obligations                hereunder         will    be        solely       the       corporate
                                                   agrees

 obligations        of the Issuer and                    that    the   Preference                   Shares           Paying           Agent     will    not have           any       recourse to any

 of the directors            officers           employees shareholders                                or Affiliates                   of the Issuer        with respect               to    any        claims

 losses       damages             liabilities            indemnities               or         other         obligations                 in    connection            with        any         transactions

                                                                                                                                                                                                       of any
 contemplated           hereby           Notwithstanding                    any     other           provisions of this Agreement                               recourse in respect

                    of the Issuer              hereunder            will     be    limited            to    the                          of the Collateral                paid pursuant                 to   the
 obligations                                                                                                          proceeds
                of Payments              and      on     the    exhaustion               thereof            all                               of and    all    claims          against           the    Issuer
 Priority                                                                                                            obligations

            from      this                              or           transactions                                                hereby shall be              extinguished                 and    shall      not
 arising                      Agreement                      any                                contemplated
 thereafter       revive            The        Preference              Shares            Paying             Agent            by        entering        into     this       Agreement                   hereby

 covenants        and     agrees that             it    will    not        prior    to        the    date       which            is   one     year and        one    day        or     if    longer          the


 applicable       preference period                      after the         payment             in    full       of    all   amounts            owing under               the   Indenture           and       this


 Agreement           institute         against          the     Issuer or           voluntarily                 join        in
                                                                                                                                  any        institution      against          the    Issuer           of any

 bankruptcy           reorganization                   arrangement                 insolvency                   or    liquidation              proceedings               or    other        proceedings

 under            United          States       federal         or   state                                  or     similar         law of any           jurisdiction             within       or    without
           any                                                                bankruptcy
 the   United       States    in       connection            with any          obligations                 relating          to the         Preference        Shares           or this Agreement

 The     provisions       of this Section 23                    shall survive                 termination of this Agreement                              for    any       reason whatsoever



                             Section         24                             GOVERNING                             LAW
                                                                                                            AGREEMENT SHALL BE          THIS
 GOVERNED BY AND CONSTRUED                                                    IN        ACCORDANCE WITH THE  LAWS OF THE STATE OF
 NEW YORK

                  WAIVER  OF JURY TRIAL    EACH   OF THE ISSUER AND THE
 PREFERENCE SHARES PAYING AGENT HEREBY IRREVOCABLY WAIVES TO THE FULLEST
 EXTENT PERMIYFED BY APPLICABLE LAW ANY AND ALL RIGHT TO TRIAL BY JURY IN
 ANY LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT THE
 PREFERENCE SHARES OR THE TRANSACTIONS CONTEMPLATED  HEREBY

                                             Service           of Process                     The     Issuer           irrevocably              appoints        Investors             Bank               Trust

 Company the Process                           Agent            do     Investors               Bank                  Trust       Company              located       at    33    Maiden            Lane        4th


 Floor      New York NY                     10038        to     receive           for    it    and    on        its   behalf           service       of process in any                 suit       action       or


 proceeding         relating        to    this     Agreement                 if   for
                                                                                          any        reason the Process                        Agent     is    unable to             act    as    such        the

                                                              Preference            Shares                                                                                                       substitute
 Issuer     shall    promptly            notify        the                                            Paying           Agent and               within    30     days          appoint

 process agent acceptable                      to the        Preference Shares                      Paying           Agent


                             Section         25               Signatures                This        Agreement                 may        be    signed in two or more counterparts
 with the same            effect       as    if   the                         thereto           and        hereto           were                the    same instrument                            facsimile
                                                         signatures                                                                    upon
 signature       shall    be considered                 due     execution           and        shall        be binding                upon     the    signatory          thereto       with the same

 force    and    effect      as   if   the     signature         were       an original



                                            Remainder               Of      This Page               Has Been                Intentionally Left                  Blank




                                                                                                      18
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              Please indicate                              of this appointment      and    the    tenns of this Agreement        by   signing
                                     your acceptance

 and                  the   enclosed    copy   of this Agreement       The      Issuer    by   signing      this   Agreement   confirms   its
        returning


 agreement       to the     terms stated   herein




                                                                    Very   truly   yours


                                                                    EASTLAND             CLO LTD
                                                                    as Issuer




                                                                    By_____________________
                                                                        Name
                                                                                               SCOU DAKERS
                                                                        Title
                                                                                                 Director




 Accepted       and    agreed   to   on this   3th
                                                     day   of   March 2007


 iNVESTORS             BANK AND TRUST COMPANY
       as   Preference Shares        Paying Agent




 By             k.-t
        Name
        Title
                          nan          Peterson

                              Director




 EASTLAND             PREFERENCE         SHARES PAYING AGENCY AGREEMENT
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                                                                                                                                                                           SCHEDULE


                                                   Notice        of Distribution of Eligible                        Equity     Securities




Date



             of Holder



Attention         L_J

Copy


Eastland      CLO         Ltd
P.O Box           1234

Queensgate           House
South       Church       Street

George Town
Grand Cayman KY1-1 108 Cayman                                           Islands

Attention         the Directors




                                                                Re            Eastland        CLO Ltd
                                                                               Distribution          of Eligible       Euuitv      Securities         in lieu          of Interest

                                                                              Proceeds




Ladies and          Gentlemen


                              This        letter     is    to    inform        you     that   Highland           Capital       Management                 L.P         in    its    capacity     as

                                                                                                                                                          of March                13 2007 by
servicer      the Servicer                         with respect          to    that    certain       servicing       agreement dated                 as

and    between           Eastland           CLO           Ltd.    the        Issuer           and      the    Servicer       on   behalf        of the Issuer would like to

distribute        Eligible           Equity          Securities           on     the     Payment             Date     of                 20               to    the        Holders        of   the

Preference          Shares       in lieu           of the Interest Proceeds                    in    whole       or in     part   that    are   otherwise              due        and   payable

to    such   Holders          on such Payment Date                             Such     Eligible        Equity       Securities       will    be distributed                 in    accordance

with    Sections          2e         and      3b          of that      certain        paying     agency          agreement dated                as    of March               13 2007 the
Preference               Shares           Paying Agency                   Agreement                    by and        between       the    Issuer          and     Investors             Bank

Trust        Company            in    its     capacity            as    preference            shares     paying        agent       the Preference                       Shares          Paying
Agent             and    Section           11.1     ai          of that       certain    indenture            dated    as    of March         13 2007             by and           among       the

Issuer       Eastland           CLO          Corp           and      Investors          Bank             Trust       Company             in   its    capacity              as     trustee      the
 Trustee                 Any    capitalized               terms used           without        definition        herein      are   used with the meanings                           assigned to

 such terms in the Indenture



                              Details         with respect              to     the    proposed         distribution          of such      Eligible             Equity        Securities        are

 attached     hereto       as Exhibit



                              Each Holder                 of the Preference               Shares        wishing       to    receive      such       Eligible          Equity        Securities

 in   lieu   of    all   or                         of the Interest              Proceeds           available        for    distribution        to    such       Holder            each       such
                                  portion

 Holder            Consenting                    Holder                must     deliver        the     consent        notice      attached          hereto        as       Exhibit             the
 Consent Notice                      to    the     Preference           Shares        Paying Agent not later than five Business Days prior to such




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 Payment Date         Each                    Holder   must   indicate      in the     Consent         Notice   the   portion    of Preference
                               Consenting
 Shares   held by     such    Holder   for   which such    Holder       wishes    to    receive          distribution       of Eligible   Equity

 Securities     in lieu   of Interest Proceeds    Any     Consent     Notice     that    is   not delivered      to   the   Preference Shares

 Paying Agent in the manner set forth herein            shall   be deemed        to    have        not been   delivered



                      Please contact                             e-mail address               at              _-j       with any questions




                                                                Sincerely



                                                                Investors    Bank             Trust    Company
                                                                as   Preference Shares              Paying Agent




                                                                By
                                                                Name
                                                                Title




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                                                                          EXHIBIT




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                                                                                                                            EXHIBIT



                                                            CONSENT NOTICE

                       The     undersigned        hereby consents       to   distribution    of Eligible   Equity   Securities   in lieu   of

 the   Interest    Proceeds     due    and   payable   as   dividends    with respect   to   LJ    of the Preference Shares        held by

 the   undersigned     on     the   Payment Date       of         20   LI
 Date     _____________             20


 Print   Name      of Holder




 By_________________________
 Signature       of Authorized        Signatory




 Print   Name      of Authorized       Signatory




 Print   Title    of Authorized       Signatory




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                                                                               ANNEX
                                 To    the Minutes             of the Resolutions              of the Board of Directors                          of

                                                                 EASTLAND CLO LTD

                            The       Issuer      may     perform any of the functions                          set     forth in this           Annex              through the
Preference           Shares        Paying Agent                under the Preference                   Shares          Paying         Agency Agreement                       or the

Administrator              in   its    capacity        as Share       Registrar        under the Administration                           Agreement


              Section                       Definitions



                           Except           as otherwise         specified           herein    or as the context                    may        otherwise           require        the

following           terms       have        the   respective       meanings            set    forth below             for    all    purposes of              this    Annex
and the definitions of such terms are equally                                        applicable           both     to    the       singular      and plural forms of
such terms and to the masculine                                feminine         and neuter            genders         of such terms                    Capitalized           terms

used     in    this       Annex               and not          defined        herein     will       have       the      meanings               given        to    them      in    the

Indenture            dated       as     of March           13     2007          by     and among Eastland CLO                                   Ltd         the     Issuer
Eastland           CLO Corp             as co-issuer and Investors                      Bank  Trust Company as                                  trustee



              Authorized                Amount             100 Preference                Shares       and      integral        multiples          of



              Controlling                   Person         Any         person         that    has      discretionary                 authority          or       control         with

                    the assets of the Issuer or
respect       to
                                                                      person who             provides          investment               advice        for        fee direct        or

indirect           with respect         to    the assets        of the Issuer or any affiliate                           as     defined         in    29 C.F.R Section

2510.3-10103                     of any such person



              Corporate                Trust       Office          The        corporate        trust      office        of the Preference                    Shares        Paying

Agent     at       which        the     Preference         Shares         Paying        Agent         performs           its       duties      under the            Preference

Shares        Paying            Agency            Agreement            currently         having           an     address            of 200            Clarendon             Street

Mailcode            EUC      108        Boston       MA        02116          telecopy       no     617         351-4358 Attention                           CDO          Services

Group     or any other                address       the    Preference           Shares       Paying Agent designates                            from time           to    time     by
notice    to       the    Noteholders              the    Servicer        the       Trustee         the    Issuer and              each Rating              Agency          or the

principal corporate                   trust   office      of any successor              Preference             Shares       Paying Agent


              ERISA Plan Any                             employee              benefit       plan         as    defined            in    Section        33         of     ERISA
subject       to    the    fiduciary          responsibility provisions                      of   Title         of      ERISA             any    plan             described        in

Section        4975e1                  of the       Code        subject        to    Section        4975        of the         Code and any                      entity     whose
underlying           assets include               the assets of any such employee                          benefit plan              and/or       plan


              Extended                Scheduled           Preference            Shares        Redemption                  Date            If     Maturity            Extension
has    occurred           the    sixteenth                            Date     after    the    then       current        Extended              Scheduled            Preference
                                                    Payment
Shares        Redemption                Date       or     in    the    case         of the    first    Extended                Scheduled             Preference            Shares

Redemption               Date         the     Payment          Date      in    May       2026          provided             that        the    Extended             Scheduled
Preference           Shares        Redemption              Date        will in no event               be        date      later         than    the    Payment            Date     in


May 2038




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           Non-Permitted                   Benefit       Plan Investor                    The meaning                specified        in   Section        10b

           Non-Permitted                   Holder            The     meaning             specified          in    Section       10a

           Plan          Asset      Regulation                The     regulation               issued           by the     United       States      Department            of

Labor and found              at   29 C.F.R Section              25 10.3-101


           Preference               Shares             Preference          Shares          sold        or       transferred      to        Person who              is



Qualified          Institutional        Buyer          and                 Qualified             Purchaser               and     evidenced          by            physical

certificate        in   definitive     fully      registered         form      in   the    form           set    forth in Exhibit               hereto


           Record            Date          As    to    any   Payment           Date        the       15th
                                                                                                                day whether           or not         Business           Day
before    the      Payment Date


           Resolutions                 The      meaning         specified           in   the minutes to which                    this   Annex             is   attached



           Scheduled                Preference           Shares       Redemption                     Date May                    2022       or upon               Maturity

Extension          if   any       the applicable         Extended            Scheduled               Preference          Shares       Redemption               Date


           Shareholders                    or    Holders              With          respect          to     any     Preference          Shares       the        Person     in


whose name such               Preference          Shares      are registered               in    the      Share     Register



           Share Register The                          meaning        specified           in    Section           5a
           Share Registrar                       The     meaning        specified           in   Section           5a
           Transferee Certificate                                  certificate           substantially             in the       form of Exhibit                   attached

hereto duly completed                  as appropriate



           Section                    Form of          Preference       Shares


                          Preference            Shares       shall     be      issued           in     the        form     of    one       or    more       certificated


Preference          Shares        as set forth in Exhibit                  hereto


                          Preference        Shares                 be offered             sold or delivered                or resold only to Persons                    who
                                                         may
are both                Qualified      Institutional          Buyers who                 purchase such Preference                          Shares        for    their   own
account       in   reliance on Rule              144A under          the     Securities           Act and                  Qualified       Purchasers


           Section                    Authorized             Minimum Number                      of Preference              Shares


                          The      Preference          Shares        shall     be issuable                  only    in     an Authorized             Amount             The

Share     Registrar        shall     not   register       any transfer of Preference                              Shares     if after      giving        effect    to   such

transfer       any      transferee      and any transferor                   that    continues              to    hold     Preference           Shares      would       hold

less   than    an Authorized Amount                      of Preference              Shares




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            Section                     Execution


                         The        certificates           representing                the     Preference            Shares          shall      be executed on behalf                  of

the     Issuer by        one of the             Authorized Officers                          of the Issuer                    The    signature              of such Authorized

Officers        on the Preference                  Share        certificates
                                                                                          may       be manual            or facsimile



                         Preference                 Share           certificates             bearing          the     manual              or     facsimile         signatures           of

individuals            who         were       at     any        time         the     Authorized                  Officers           of the        Issuer         shall    be    valid

notwithstanding               the     fact      that     such         individuals              or    any of them               have       ceased         to    hold such offices

prior to        the    execution           and delivery                   of such Preference                      Share        certificates             or did     not    hold such

offices     at   the date of issuance                    of such Preference                         Share     certificates




                         Preference                Share        certificates              issued          upon      transfer         of Preference               Shares     shall      be

issued     in    an Authorized Amount                           reflecting           the numbers                 of Preference                 Shares         so transferred         and
if   applicable         retained by the transferor



                         No        Person          shall       be    entitled       to    any benefit under the Preference                                     Share Documents

until     such time           as    such Person and the number                                   of Preference                 Shares          held     by such Person have
been recorded            in    the Share            Register                Notwithstanding delivery                            of        Preference           Share     certificate

the     Share     Register           shall      be conclusive                    evidence                 and the        only       evidence             of the       issuance       and

registered Holders                  of Preference               Shares


            Section                       Registration                Registration              of Transfer              and Exchange


                                          The       Issuer shall               cause      to    be kept             register         the Share Register                         in     the

                 Islands      in     which                                  such reasonable                                                                               the   Issuer
Cayman                                              subject          to                                      regulations             as   it   may       prescribe

shall     provide       for    the     registration             and         registration             of    transfers          thereof      of Preference              Shares         The

Administrator            is   appointed             the    Share Registrar                            pursuant           to    the Administration                 Agreement            for


the     purpose        of registering                  Preference              Shares          and        transfers           of Preference                 Shares        Upon       any
resignation           or removal           of the Share               Registrar            the       Issuer shall             promptly appoint                   successor       or     in

the     absence        of such         appointment                    assume           the     duties        of Share           Registrar               The Share          Registrar

shall    promptly provide                    the Preference                 Shares        Paying Agent with copies                              of    all   notices      certificates

and requests            received          with respect                to     the    Preference               Shares           and promptly provide                    notice     of    all


transfers        of Preference               Shares             The        Share     Registrar              shall    not       be required             to     determine     whether

         proposed         transfer            redemption                  or    other        transaction             in       relation to            the      Preference        Shares
any
complies          with     any        restrictions              imposed             by     law        or     under        the       terms of the               Indenture        or     the

Preference            Share        Documents             but        shall      be   entitled         to    rely completely                in    that     respect      on the Issuer

or the Preference              Shares         Paying Agent


                         The        Issuer will give                  the      Preference             Shares        Paying Agent prompt written                            notice       of

the     appointment            of any           successor             Share         Registrar             and of the            location          and any          change       in     the

location         of the Share Registrar                         and the Preference                         Shares        Paying       Agent            shall    have the       right    to


inspect     the       Share        Register         at   all   reasonable            times          and     to   obtain        copies          thereof        and the Preference

Shares      Paying        Agent           shall      have       the        right     to    rely upon                certificate           executed             on behalf     of such

Share      Registrar          by an Officer                thereof          as to      the     names and             addresses            of the Shareholders                  and the

numbers          of Preference               Shares        held       by each Shareholder                           If    the Preference                Shares     Paying Agent




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resigns       or        is    removed             in     accordance                 with     the     terms of the              Preference               Share       Paying           Agency
Agreement                the Issuer shall                    promptly appoint                      successor


                               Subject            to    this       Section              upon         surrender           of         Preference            Share           certificate            for


registration                 of transfer               thereof            at    the     offices        of the           Preference               Shares        Paying            Agent            in


                        with        the provisions                  set    forth in the Preference                      Shares        Paying Agency                  Agreement                  the
compliance
Preference              Shares        Paying Agent                      shall       notify     the    Issuer and the                 Share        Registrar          thereof          and the

Issuer shall             execute           and the Preference                          Shares        Paying        Agent           shall    deliver           in    the    name of              the

designated              transferee or transferees                               one or more           new        Preference           Share        certificates            of    like      terms

and of           like         number              and the Share                   Register         shall    be amended accordingly                                  The        Issuer shall

and      shall     cause            the    Share         Registrar             to     refuse    to    register         any transfer of any Preference                                Share        to

the    fullest      extent           allowed             under Cayman                    Islands       law       if    such transfer              would        violate          any        of the

transfer restrictions                     provided            in    this       Section         or the transferee fails to provide                                   required          transfer

certificate




                               All        Preference               Share          certificates         presented              or    surrendered               for registration                    of

transfer       shall          be duly endorsed                       or be accompanied                      by          written          instrument           of transfer             in     form

satisfactory             to    the        Issuer         the       Preference              Shares      Paying           Agent         and        the    Share        Registrar               duly

executed by the Holder                            of Preference                  Shares      thereof        or   its    attorney          duly authorized                 in    writing



                               No     service            charge           shall       be made         to         Holder        for
                                                                                                                                         any     registration             of transfer             of

Preference              Shares            but      the        Preference              Shares         Paying        Agent           may      require           payment            of             sum
sufficient         to    cover any tax or other governmental                                         charge       payable           in     connection          therewith


                                             No          Preference                 Share      may         be     sold        or    transferred           including                   without

limitation              by      pledge            or      hypothecation                     unless         such        sale    or        transfer        is    exempt               from        the

registration             requirements                   of the        Securities             Act     and    is    exempt            under applicable                 state          securities

law


                               No     Preference                  Share        may     be offered           sold or delivered                    except       in    accordance               with

this   Section                  None         of the          Is suer       the Preference              Shares          Paying Agent or any other Person                                         may
register      the Preference                    Shares            under the Securities Act or any                             state       securities      law


                               For so long                   as    any     of the       Securities          are Outstanding                      neither       the    Issuer nor the

Share     Registrar             shall       register           any transfer             of any Issuer Ordinary Shares                             to    U.S        Persons


                               If         Holder          of        Preference               Shares        wishes        at   any        time     to    transfer          its    interest         in

such     Preference                  Shares             such       Holder           may       cause        the    transfer          of such            interest       subject           to      the

restrictions            set     forth herein                      Upon         receipt       by the Preference                     Shares        Paying Agent                  of            such

Holders          Preference                 Share            certificates             duly     endorsed and                              certificate          substantially                in   the

form of Exhibit                       attached               hereto       given        by the transferee of such Preference                                   Shares           and stating
             other things                  that                    the Person acquiring                    such                            the    Preference          Shares
among                                                  either                                                          interest      in                                                 is


Qualified          Institutional                  Buyer           and                 Qualified        Purchaser              then        the    Preference           Shares            Paying

Agent      shall         instruct         the      Share          Registrar to             and the Share               Registrar          shall          cancel       the Preference

Shares       certificate             representing                  such Preference                 Shares        and the Share                  Registrar          will issue to             such

transferee               Preference                Shares          certificate          representing             the     Preference              Shares       transferred             and       ii
update     the Share                Register            to    reflect          such transfer




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                               Any         transfer            will be subject               to   the requirement                        that     any transferee                      and      transferor

in    the    case        of           partial             transfer          acquire          and          retain           if       applicable                   Preference                 Shares      in       an
Authorized              Amount

                               Each           Transferee               Certificate           furnished             pursuant               to    this        Section           5b        may      be    relied


on conclusively                     by      the      Preference               Shares        Paying            Agent            and the            Share           Registrar                  None      of the

Issuer       the        Preference                  Shares          Paying       Agent             the       Share         Registrar                 or     any       other           Person         shall       be

required          to    register          the Preference                  Shares        under the Securities Act or any                                           state       securities         laws



                                                   By         delivery         of            Subscription                      Agreement                    on        the         Closing            Date        in

connection              with         the       initial         issuance         of the        Preference                  Shares              or upon             delivery             of       certificate


substantially                in    the      form of Exhibit                         upon          the    transfer          of Preference                         Shares each                 Holder          of

Preference              Share        will          represent           warrant         and agree              with the Issuer                     to      what        is    in    Exhibit             and     set

forth in Exhibit



                                      Preference                    Share                                             issued
                               If                                               certificates                 are                          upon the transfer                                 exchange             or

replacement                  of Preference                     Share      certificates                 and         request               is made to remove                             the     applicable

legend       on such Preference                                 Share     certificates                 the    Preference                      Share        certificates                so    issued        shall

bear    such applicable                       legend            or such applicable                      legend        shall          not       be removed                    as the case             may be
unless      there        is    addressed                 to    the Issuer and delivered                        to    the Issuer or the Preference                                       Shares        Paying
Agent        on        the         Issuers           behalf            such     satisfactory                 evidence                which             may         include             an     opinion            of
counsel        as       may         be reasonably                      required        by the           Issuer to              the       effect           that     neither            such     applicable

legend       nor the                restrictions                on transfer            set        forth       therein           are           required           to     ensure          that     transfers

thereof      comply                 with           the    provisions            of Rule                44A      under the                     Securities              Act        or    the    Investment

Company Act                         Upon            provision           of such         satisfactory                 evidence                  the     Issuer           shall         execute        and the
Preference              Shares         Paying Agent                     shall    deliver           Preference                  Share          certificates              that        do not bear such

applicable             legend


                                                   At any time              when        the       Issuer        is    not       subject              to     Section            13      or    15d       of the

Exchange               Act     and       is    not        exempt         from reporting                  pursuant              to    Rule 12g3-2b                          under the Exchange

Act upon               the    request              of any Holder               of Preference                  Shares the Issuer                            shall      promptly furnish                     Rule
 44A        Information                to      such Holder                to        prospective               purchaser                  of any Preference                        Share designated

by    such        Holder             or       to    the        Preference           Shares             Paying         Agent               for     delivery              to       such        Holder         or

prospective              purchaser                   designated             by      such          Holder             as    the           case        may be                  in       order     to    permit

compliance               by such               Holder            with Rule             144A under                    the       Securities                 Act      in      connection            with        the

resale of such Preference                                 Share        by such Holder


                                                   Transfers            of Preference                   Shares        may            only         be made                  upon        receipt        by the
Preference              Shares           Paying Agent                    of          appropriate               documentation                         required              under the Code and
the    applicable                  Treasury               regulations            establishing                 that        the       beneficial               owner               of the        Preference

Shares       to    be transferred                        is   either    not       U.S        person           e.g          an IRS Form                       W-8BEN                   or an IRS         Form
W-8IMY             with appropriate                           attachments              or         U.S     person           e.g            an IRS Form                      W-9         and            if   such
beneficial             owner         of Preference                     Shares     to    be transferred                    is   treated as                   partnership                 S-corporation

or    grantor           trust        for           U.S         federal        income          tax        purposes                        written            representation                    from         such
beneficial             owner             that                  there     will       not      be                 interests                 in    such             beneficial             owner          where
                                                                                                        any
substantially                all    of the value                of such         interest          is    attributable                to   the value               of the Preference                    Shares

proposed           to        be transferred                    to   such        beneficial              owner         together                 with the               value           of any         Class




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Notes Holding                    Securities                and Preference                       Shares       already        held       by such beneficial                    owner         and       ii
such beneficial                  owner          is    not          part of any arrangement                                  principal             purpose of which                   is   to    cause

the Class                Notes and Preference                              Shares          to    be treated as owned by 100 persons                                       or less     within         the

                   of Treasury                                            section                                     In addition                neither       the Preference                  Shares
meaning                                      Regulation                                    1.7704-1h
Paying           Agent          nor the          Issuer shall                  recognize              any     transfers              of Preference             Shares           and any             such

proposed transfer                     shall      be        null    and void                if         the     proposed           transfer         will cause          the       Issuer to        have

more        than         ninety-nine                 beneficial                owners             as       determined                for
                                                                                                                                            purposes            of the          provisions             of

Treasury            Regulation               section              1.7704-1h                     of   its    Class           Notes and Preference                           Shares         unless        it


receives          the     consent           of      all    of the Holders of the Preference                                      Shares          and an Opinion                 of Counsel             to

the    effect       that        Holders             of the Notes                 will       not      recognize         gain           or loss      for    U.S        federal         income          tax

purposes as                 result         of such transfer                          and    will      be subject           to    U.S        federal       income           tax on the           same

amounts             in    the    same manner                      and      at    the same             times        as would            have been the case                    if   such transfer

had not been made or                                      such transfer was made pursuant                                       to      trade on an Established                         Securities

Market             The      Preference                Shares          Paying Agent                        shall    contact           the Trustee         to    determine the number

of beneficial              owners            of the Class                        Notes            The        Preference              Shares        Paying Agent                 shall     provide

upon        request        by the Trustee                      the    number of                 beneficial           owners           of the Preference                Shares


                 Section                        Mutilated                      Defaced               Destroyed                  Lost         or        Stolen        Preference                 Share

                 certificates



                                If              mutilated                 or    defaced              Preference            Share           certificate         is    surrendered               to    the
                                      any
Preference               Shares        Paying              Agent           or if there               shall        be delivered             to    the    Issuer       and the Preference

Shares           Paying Agent                         evidence             to    their          reasonable           satisfaction               of the destruction                 loss    or theft

of any           Preference               Share           certificate            and       ii        such     security           or indemnity                 as    may      be required              by
them        to    save     each of them and any agent                                       of any of them                 harmless             that   such Preference                  Share        has

been acquired                   by        protected               purchaser                then        the Issuer shall                execute          and upon             Issuer Request

the    Preference                Shares              Paying           Agent               shall      deliver          in    lieu        of any          such        mutilated             defaced

destroyed                lost    or       stolen          Preference                 Share                new      Preference              Share       certificate           identical          in    all



respects           to    the     entry         in    the       Share           Register           with respect              to       such Preference                 Shares         represented

thereby            including              the       same          date         of issuance                 number          of Preference                 Shares           and     name         of the

Holder           thereof             dated       the        date      of       its    execution              and bearing                   number         not       contemporaneously

Outstanding                     Upon         the     execution                 and delivery                 of any new                Preference          Share           certificates          under

this   Section                  the Issuer or the Preference                                    Shares        Paying Agent                  may        require the payment                     by the

registered              Holder        thereof             of       sum         sufficient            to    cover any tax or other governmental                                       charge          that


may     be imposed                   in    relation thereto                     and any other expenses                               including           the       fees and        expenses            of

the Preference                  Shares          Paying Agent                     if   applicable                  connected           therewith


                 Section                        Payment              of Distributions                      on Preference               Shares


                                Pursuant              to     the      Indenture                  amounts            may      be paid              by    way         of dividends               to    the

Preference                Shares           Paying              Agent            on        behalf          of the       Issuer           on       each
                                                                                                                                                    Payment                     Date           on    the

Redemption                  Date          or        on      the      Scheduled                   Preference            Shares              Redemption  Date                          Unless          the

Preference               Shares           Paying            Agent              has    received              contrary        instructions               from         the    directors           of the

Issuer           the      Directors                        prior to                  Payment               Date       the        Redemption               Date        or     the      Scheduled

Preference               Shares           Redemption                  Date           in    accordance               with the Preference                       Shares        Paying         Agency
Agreement                 all    amounts              received             as dividends                   by the Preference                     Shares        Paying Agent                pursuant

to    the        Indenture           shall      be paid              to    the       Holders              of Preference               Shares             in     respect         of        Payment




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Date or the Scheduled                          Preference                 Shares                                          Date pro            rata        on the Preference                       Shares       on
                                                                                          Redemption
such Payment                  Date       or     Scheduled                 Preference              Shares                                           Date        by way of                     dividend          on
                                                                                                                     Redemption
the    Preference                 Shares           or     if    applicable                as    redemption                      price        therefor              or    ii         in     respect       of the

Redemption                   Date        in    accordance                  with       Section              3g             of the        Preference                   Shares              Paying      Agency
Agreement                    If prior to           the     date of distribution in accordance                                               with the Preference                            Shares       Paying

Agency Agreement                             the     Directors             instruct         the       Preference                  Shares           Paying Agent                       not    to    distribute

all    or any       portion            of monies               to    be received               as dividends                     by the Preference                            Shares        Paying Agent
with        respect          to          Payment               Date         the       Redemption                      Date         or       the     Scheduled                   Preference              Shares

Redemption                Date         which            instruction             shall      be made               if       such distributions would                                  be impermissible

under          Cayman               Islands             law          and        then           only        to         the         extent           such            distributions                  would        be

                                   the   Preference                  Shares                                               shall    retain          such monies                      in    the     Preference
impermissible                                                                        Paying           Agent
Shares         Distribution                  Account                and     shall
                                                                                          pay        such       amounts                 as        soon        as     practicable                after     being

instructed          to       do so by the Directors


                               In      addition           to        the    distributions                  of dividends                       pursuant               to       Section            2d       of the

Preference              Shares           Paying           Agency               Agreement                  on each               Payment              Date          Holders               of the      Class      II


Preference               Shares          shall        receive              on                   rata        basis               the     Class           II    Preference                   Share        Special
                                                                                      pro
                   in    an amount                             to    the                        of          the           Class              Preference                 Share Portion                for such
Payment                                         equal                          product                                                 II



Payment            Date and                    the      Servicing              Fees then due and payable                                     to   the        Servicer



                               The       Preference                 Shares          Paying Agent                     shall        make payments                          or distributions other

than        distributions of Equity                        Securities                to    each registered Holder                                  of the Preference                        Shares       on the

relevant           Record           Date       by wire              transfer         in    immediately available                                   funds        to            U.S        Dollar      account

maintained               by each              such Holder                  as   notified             to    the       Preference                   Shares           Paying            Agent         or    in   the

absence            of such notification                        by     U.S        Dollar         check           mailed            to    such Holder                     at    its   address        of record

as set       forth in the              Share         Register               As            condition             to    payment                of any amount                       hereunder without

the     imposition                of   U.S         withholding                  tax       the    Preference                     Shares            Paying           Agent             on behalf           of the

Issuer         may        require          certification                  acceptable            to    it   to        enable           the     Issuer and the                        Preference           Shares

Paying Agent                  to    determine              their          duties      and       liabilities               with respect               to       any taxes               or other charges

that        they    may           be required             to        deduct or withhold from payments                                                 or       distributions                 in    respect      of

Preference               Shares          under          any         present          or    future          law or regulation                            of the           United             States      or    any

present        or future            law or regulation                      of any          political         subdivision                     thereof          or taxing              authority          therein

or     to     comply           with          any        reporting              or    other       requirements                         under         such           law         or     regulation              All

payments            of distributions by the Preference                                          Shares          Paying Agent                       shall      be made without                       charging

any commission                      or fee to the Holders                           of the Preference                       Shares


                               The       rights         of the        Holders             of the Preference                            Shares        to       distributions                 by the       Issuer

and in and              to    the      assets of the                 Issuer in respect                     of such Preference                             Shares              shall       be subordinate

and junior           to      the    Notes          to     the extent            and       in    the manner                  set    forth in the                Indenture                 including        as set

forth in           Section          11.1      thereof           and as required                      by law                If   any Event of Default                                 has    occurred          and

has     not        been        cured          or   waived             and           acceleration             occurs               in        accordance                  with        Article              of the

Indenture the Notes                           shall     be paid           in    full in        Cash        or        to    the extent              that        Majority                  of each Class of

Notes consents                      other than            Cash            before          any further payment                               or distribution                    is    made on         account

of the Preference                      Shares


                               In      the     event       that
                                                                          any       Holder        of any              Preference                  Shares           shall        have        received          any

payment             or distribution                  in   respect              of such Preference                           Shares           contrary              to    the        provisions           of   this




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Annex              or the           Indenture                  then      unless        and      until                the        Class       A-i Notes                  ii      the       Class       A-2a

Notes ii the               Class              A-2b Notes iii the                       Class        A-3 Notes                iv        the Class                 Notes                  the    Class

Notes and           vi          the       Class                Notes         shall     have         been paid              in     full      in    Cash      or         to    the     extent         that


Majority        of each              Class          of Notes consents                         other       than           Cash          in   accordance                 with the           Indenture
such        payment            or        distribution                shall     be received                and       held         in    trust      for the         benefit           of     and       shall


forthwith          be paid           over       and delivered                   to the Trustee                     for                          and delivery                of the same             to    the
                                                                                                                          payment
Holders        of the           Class           A-i Notes                   the      Class     A-2a Notes                    the       Class        A-2b Notes                    the     Class          A-3

Notes        the        Class                 Notes            the     Class            Notes            or    the        Class             Notes           as    the        case       may be              in


accordance              with        the        Indenture               provided             however                that     if              such payment                     or     distribution            is
                                                                                                                                  any
made        other       than        in    Cash           it    shall     be paid            over     and delivered                    to    the     Trustee            such that          it
                                                                                                                                                                                               may         be

held     by the           Trustee              as    part       of the            Collateral pursuant                       to        and        subject         in    all     respects         to         the

provisions          of the Indenture including                                      Section        13.1       thereof



              Section                           Persons          Deemed              Owners


                            The person                    listed       in    the     Share     Register              shall       be treated as the owner of Preference

Shares       related thereto for                         all    purposes             notwithstanding                      the possession                  of any            certificates         for       the

Preference              Shares           by another             Person


              Section                           Cancellation



                            All          Preference              Share          certificates             representing                 Preference             Shares            surrendered                 for


payment            registration                 of transfer                   exchange              or    redemption                       or    deemed           lost         or    stolen           shall


promptly be                canceled                 by    the        Share          Registrar        in accordance                         with     its     policy            and     may        not       be

reissued       or resold                  No        Preference               Share     certificates                shall     be issued             in     lieu    of or in exchange                        for


any     Preference               Share          certificate              cancelled            as     provided               in    this          Section               except         as    expressly

permitted           by     this           Annex                       All      cancelled            Preference                  Share           certificates           held         by    the       Share

Registrar          shall        be        placed           in    the        minute          books         in       the     corporate              records             of the        Issuer               Any
certificates            issued           in respect            of Preference                Shares        repurchased                  by the Issuer shall                     be immediately

delivered          to    the    Share Registrar                       for     cancellation



              Section           10              Preference                  Shares          Owned              by        Non-Permitted                     Holders                Non-Permitted

              Benefit           Plan Investors



                                                Notwithstanding                        anything               to     the         contrary           herein             any          transfer         of

Preference              Share            to         Person            that     is     not    both                         Qualified              Institutional               Buyer        and

Qualified          Purchaser                  any        such         Person            Non-Permitted                            Holder                 shall         be null and void ab

initio      and any such purported                               transfer           of which         the       Issuer or the                Preference                Shares        Paying Agent
shall       have    notice           may        be disregarded                      by the Issuer and the Preference                                       Shares            Paying       Agent            for

all
      purposes


                               If
                                    any        Non-Permitted                        Holder     shall          become             the       owner        of any          Preference              Shares
the     Issuer      shall           promptly               after       discovery             that        such       Person            is         Non-Permitted                    Holder         by the
Issuer or the Preference                            Shares            Paying Agent              and           notice        by the Preference                         Shares        Paying Agent
to    the    Issuer        if    the          Preference              Shares         Paying         Agent           makes             the       discovery              send notice             to        such

Non-Permitted                   Holder          demanding                    that    such Non-Permitted                          Holder           transfer        its       Preference           Shares

to      Person           that       is    eligible         to    purchase such Preference                                  Shares           hereunder within                      30 days of the




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date     of such notice                      If   such Non-Permitted                         Holder            fails to          so transfer                 its    Preference                   Shares the

Issuer        shall        have        the    right           without            further         notice         to        the    Non-Permitted                           Holder                 to     sell         such

Preference                 Shares       to          purchaser                 selected            by     the         Issuer          that         is    eligible                to        purchase                  such

Preference             Shares           hereunder               on       such        terms as the                    Issuer          may           choose                     The          Issuer              or    the

                                                                                        on behalf              of the                                          select            the
Preference             Shares           Paying        Agent             acting                                                   Issuer           may                                       purchaser                 by

soliciting         one or more bids from one or more brokers                                                     or other market professionals                                              that       regularly

deal     in    securities              similar to             the      Preference                Shares          and        selling           such           Preference                    Shares              to    the

highest       such bidder                    However             the Issuer or the Preference                                   Shares            Paying Agent acting                                  on behalf

of the Issuer                                                                  by any other means determined                                                             in               sole discretion
                            may        select         purchaser                                                                                          by        it           its


The      Holder            of each          Preference               Share           the    Non-Permitted                       Holder            and each other                           Person              in    the

chain       of   title       from the Holder                    to     the Non-Permitted                        Holder               by     its    acceptance                    of the Preference

Shares agrees                   to   cooperate           with the Issuer and the Preference                                          Shares            Paying Agent                        to        effect         such

transfers              The           proceeds         of such               sale       net       of any          commissions                           expenses                  and           taxes           due       in

connection                 with       such        sale        shall         be remitted             to     the        Non-Permitted                          Holder                       The        terms           and

conditions            of any          sale    under           this     Section          shall      be determined in the sole discretion                                                        of the Issuer

and neither                the       Issuer       nor the            Preference             Shares         Paying               Agent             shall        be        liable           to     any           Person

having        an      interest         in    the    Preference                 Shares        sold        as          result          of any            such         sale        or the           exercise                of

such discretion



                                              Notwithstanding                        anything            to      the        contrary               herein                 no         person               shall          be

permitted             to    acquire          Preference                Shares          if   such        acquisition                  would             result           in
                                                                                                                                                                              persons                 who           have

represented                that      they    are Benefit               Plan       Investors            owing          25%         or more of the aggregate                                           amount              of

either      the       Class            Preference              Shares          or the        Class        II    Preference                  Shares            outstanding                       immediately
after    such acquisition                     excluding                 for
                                                                                 purposes of              this        determination                     the        Preference                   Shares              held

by any         Controlling                  Person and                its    affiliates            determined                   in    accordance                        with         Section              342            of

ERISA             the        Plan        Asset        Regulation                     the     Indenture                    and     the        Preference                       Share             Documents

Furthermore                  no person             shall       be permitted                 to    acquire            Preference               Shares               if    such person                      is    either


       an   ERISA               Plan or                  Benefit            Plan       Investor         that     is       not    an     ERISA                Plan         but         whose purchase

holding        or disposition                 of      Preference                 Share       or any beneficial                       interest           therein               will result                 in        non-

exempt         violation              of any federal                 state       foreign          or local           law substantially                        similar to                  Section              406 of

ERISA            or    Section              4975      of the             Code               Any        person             described               in     the            first        sentence                  of    this

subsection                      and any person described                               in   clause                   or          of the preceding                             sentence               is    referred

to   herein       as            Non-Permitted                        Benefit           Plan Investor                        Any         transfer              of Preference                      Shares             to

Non-Permitted                     Benefit          Plan Investor                  shall      be null and void                         ab      initio           and any                    such        purported

transfer         of which              the    Issuer          or the          Preference               Shares             Paying          Agent              shall        have            notice           may           be

disregarded                by the Issuer and the Preference                                  Shares            Paying Agent for                         all    purposes


                                If   any Non-Permitted                        Benefit            Plan Investor                  shall     become               the owner                    of Preference

Shares         the         Issuer       shall       promptly                after      discovery           that           such       person             is         Non-Permitted                           Benefit

Plan     Investor               by the Issuer or the Preference                                  Shares         Paying Agent                       and         notice            by the Preference
Shares        Paying Agent                   to    the Issuer               if   the    Preference              Shares           Paying Agent makes                                       the    discovery
send     notice            to     such Non-Permitted                          Benefit            Plan     Investor               demanding                    that        such Non-Permitted

Benefit        Plan Investor                  transfer          its    Preference                Shares         to         Person           that        is    eligible               to    purchase such
Preference             Shares          hereunder within                       30 days of the                    date       of such notice                           If    such Non-Permitted

Benefit        Plan Investor                  fails      to    so transfer             such Preference                      Shares the Issuer                                shall        have the right
without        further notice                 to    the Non-Permitted                        Benefit           Plan        Investor               to    sell       such Preference                             Shares

to      purchaser               selected          by the Issuer               that     is   eligible       to    purchase               such Preference                           Shares              hereunder




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on such terms as the Issuer                                may            choose              The         Issuer          or     the    Preference                     Shares             Paying         Agent

acting    on behalf              of the Issuer                 may         select       the purchaser                     by     soliciting             one or more bids from one

or     more        brokers        or     other          market            professionals                   that       regularly          deal           in        securities               similar to           the

Preference           Shares           and     selling          such Preference                       Shares          to     the highest                such bidder                        However              the

Issuer        or    the    Preference                   Shares        Paying             Agent            acting           on     behalf               of the           Issuer            may        select


purchaser           by     any        other        means determined                            by        it    in    its    sole        discretion                      The         Holder           of each

Preference           Share the Non-Permitted                                 Benefit           Plan Investor and each other Person in the chain                                                                    of

title   from the Holder                  to    the Non-Permitted                          Benefit              Plan Investor                 by        its       acceptance               of Preference

Shares        agrees       to    cooperate              with the Issuer and the Preference                                         Shares              Paying Agent                       to    effect        such

transfers            The        proceeds                of such            sale         net    of any               commissions                        expenses                and        taxes          due       in

connection            with       such         sale       shall       be remitted               to        the     Non-Permitted                         Benefit           Plan Investor                        The

terms     and conditions                     of any       sale       under         this       subsection                 shall    be determined                         in    the     sole discretion

of the Issuer              and the Issuer                 shall       not be liable                 to
                                                                                                          any Person having                            an    interest           in    the Preference

Shares        sold as           result       of any such                  sale   or the exercise                     of such discretion



                            Any         Holder           that        becomes                  Non-Permitted                       Holder               or         Non-Permitted                       Benefit

Plan     Investor          or     any        Holder            who         has     made         an ERISA-related                          representation                         required             by      this

Annex               that    was         at    the       time         made         or     has         subsequently                 become                    false        or    misleading                  must

immediately give                      written        notice          to    the     Issuer of such                     event            Any         Holder               of Preference                    Shares

that                                                                                    would                                                               of Preference                      Shares
        proposes or attempts                              transfer          that                         result       in    the    holding                                                                    by
Non-Permitted                   Holder         or       that     the       Holder             knows            or    has         reason           to     know            would             result        in    the

holding        of Preference                  Shares           by          Non-Permitted                       Benefit           Plan Investor                         must         give        at   least         15

days prior written                    notice       to    the Issuer of such proposed transfer                                                In                               the notifring               party
                                                                                                                                                   any case
must provide               the       Issuer such               information                as    it
                                                                                                         may        request        in    order              to    determine                the       effect         if


any of such                event        on the           Issuer           with      respect              to    its       compliance                with the                  Securities              Act       the

Investment            Company Act ERISA and                                      the     Code

              Section           11           Return of Undistributed                             Payments


                            Except            as    otherwise               required           by applicable                     law any monies                              deposited               with the
Preference            Shares           Paying            Agent            and     held         in    the         Preference              Shares                  Distribution                  Account             or

otherwise           held     for any           payment               with respect              to        the     Preference             Shares               and remaining unclaimed
for     two    years        after       such         amounts               have         become             payable             shall     be paid                  to     the     Issuer           on Issuer

Request            and the           Holder          of such          Preference                Shares              shall      thereafter               look           only     to        the    Issuer for

payment            of such amounts                      and    all    liability          of the Preference                        Shares          Paying Agent with respect                                        to

such     Money but                only        to     the extent             of the amounts                       so paid          to    the Issuer                     shall    thereupon                cease
The      Preference              Shares            Paying            Agent              before            being          required            to        make             any      such           release            of

payment            may          but    shall       not    be required                   to adopt and employ                             at    the           expense            of the Issuer                   any
reasonable            means of                notification                of such             release            of payment                  including                    but        not        limited        to

mailing        notice       to        Holders           whose         right        to    or    interest             in     such unclaimed                         monies             is    determinable

from the records                  of the Preference                        Shares        Paying Agent or Share                               Registrar                  at     the    last       address           of

record        of each such Holder


              Section           12           Disclosure               of Tax Treatment


                            In        order        to     ensure            the         Holders                and         beneficial              owners                    acquisition                 of the
Preference           Shares           pursuant           to     the       Preference            Share            Documents               are not                 treated as offered                      under




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conditions           of confidentiality                              the    Holders               and beneficial                  owners          of the Preference                       Shares        and
each     of     their        respective                employees                       representatives                  or        other    agents              are        hereby         permitted            to

disclose to          any and              all     persons             without            limitation of any kind                           the tax treatment                        and tax structure

of the transactions                       contemplated                      by the           Preference               Share        Documents               including                  the     ownership
and disposition                 of the Preference                           Shares For                   this
                                                                                                                  purpose            the tax treatment                         of        transaction          is


the    purported             or claimed                U.S           federal           income            or state       and        local    tax treatment                      of the transaction

and the         tax     structure                 of            transaction                 is
                                                                                                  any     fact        that
                                                                                                                                  may     be relevant                    to    understanding                 the

purported        or claimed                     U.S        federal          income               or state      and      local      tax treatment                of the transaction


           Section             13               Certain              Tax Matters


                              The         Issuer and each                        Holder            and each beneficial                     owner          of             Preference            Share by

acceptance            of     its    Preference                   Share or              its       interest      in       Preference             Share           shall          be deemed           to    have

agreed     to    treat             and      shall          treat        such Preference                       Share          as equity         of the          Issuer and                the     Notes as

debt of the Issuer for United                                   States       federal income                      tax purposes



                              The         Issuer will                make          an election                to be treated as                     partnership                     and    will    take       all



necessary            actions         to     maintain                 its   status           as       partnership              or     if    the     Issuer           is    treated        as    owned by
one person            as           disregarded                  entity       of such person                      for    U.S        federal income                   tax purposes



                              The        Issuer shall                 file       or cause           to   be filed any tax return                           including                 information            tax

returns        required            by any governmental                                 authority              provided             however              that    the           Issuer shall       not        file

or cause        to    be filed any income                                  or franchise              tax return              in           state        of the United                 States      unless
                                                                                                                                  any                                                                          it


shall    have        obtained             an Opinion                   of Counsel from                           tax counsel               of nationally                  recognized             standing

experienced            in      such matters                      prior to              such         filing       that        under the            laws of such jurisdiction                                 the

Issuer    is   required             to     file       such income                  or franchise               tax return



                             Each           Holder              and        beneficial               owner         of          Preference               Share             by        acceptance          of    its


Preference            Share          or         its    interest             in           Preference                   Share        shall       be deemed                      to    understand              and

acknowledge                that          failure           to                          the        Issuer       the      Trustee           or     the      Preference                  Shares
                                                                 provide                                                                                                                          Paying
Agent      with        the         applicable                   U.S         federal              income          tax    certifications                 generally                       United          States

Internal       Revenue              Service            Form W-9 or                          successor            applicable             form       in    the        case        of     person      that       is


      United          States             person                 within           the        meaning              of Section               770     1a30                    of the         Code          or    an

appropriate           United              States           Internal          Revenue                Service           Form W-8 or                  successor                  applicable         form         in

the     case     of            person             that          is    not              United             States         person            within          the           meaning              of Section

7701a30                of the             Code may                     result          in    U.S         federal        withholding                from payments                         in   respect         of
such Preference                    Share and the Issuer                                will       have      the       unconditional               right        to    cause           such Holder              to

sell
        any and        all     Preference                   Shares          to    the Issuer or to                      person chosen                   by the Issuer or the Issuers
agent    on such terms as the Issuer                                       may         choose


                             The          Issuer           will provide                      or    cause         to    be provided                to     each            Holder          or    beneficial

owner      of the Preference                          Shares           or        its   designee                upon written                request         therefor                 any information
that    such         Holder          or         beneficial              owner           reasonably                requests           to    assist        such            Holder          or    beneficial

owner     with regard                to     its       or   its   equity           owners U.S                     federal income                tax filing requirements



                             The         Issuer will cause                        the        Independent                accountants               to    make                  determination            as to

whether          Holders                  investment                  in   the Preference                     Shares         has    become               reportable                  transaction              as




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described           in   Treasury         Regulation            Section        1.60        1-4 because         after    the     Closing       Date      the     Issuer

entered     into          transaction                            the    Issuer recognized                                      loss or otherwise                 If   the
                                                 whereby                                                     significant

Holders         investment           in    the    Preference            Shares     has      become such                reportable            transaction          then

the   Issuer shall           provide        to    Holders        of Preference              Shares       any   infonnation            available      to    it   which

may    be       reasonably           necessary            for     such        Holders           of Preference           Shares       to   comply          with        any
disclosure           requirements                under     Section            6011         of    the    Code     and         the     Treasury       Regulations

promulgated              thereunder        with respect           to    its   investment          in   the Preference          Shares


                           The     Issuer shall      not        become        the owner           of any asset         if   the ownership        or disposition

of such asset without                     regard     to    the    other activities               of the Issuer          would        cause    the   Issuer to          be

engaged             or   deemed      to     be engaged             in         trade        or   business       within        the    United     States      for    U.S
federal     income           tax    purposes         it    being        understood              that   the   purchase          of Collateral Obligations

pursuant       to    the acquisition             standards        set    forth in the Collateral Acquisition                         Agreement       will not          be

deemed         to    cause    the Issuer to          be engaged               in      trade      or business      with the United               States     for    U.S
federal income             tax purposes



                                     remainder            of    this
                                                                         page has been intentionally                         left   blank




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                 FORM OF PREFERENCE SHARE CERTIFICATE

                             EASTLAND CLO LTD

                PREFERENCE SHARES PAR VALUE        $0.01   PER SHARE

        THE PREFERENCE SHARES  REPRESENTED HEREBY HAVE NOT BEEN AND
WILL NOT BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933
AS AMENDED THE SECURITIES           ACT AND THE ISSUER HAS NOT BEEN
REGISTERED UNDER THE UNITED STATES iNVESTMENT COMPANY ACT OF 1940
AS AMENDED THE INVESTMENT COMPANY ACT THE PREFERENCE SHARES
REPRESENTED     HEREBY   HAVE NOT BEEN OFFERED SOLD PLEDGED                 OR
OTHERWISE   TRANSFERRED EXCEPT             TO    PERSON WHOM THE SELLER
REASONABLY BELIEVES IS       QUALIFIED    INSTITUTIONAL   BUYER QUALIFIED
INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER THE
SECURITIES  ACT PURCHASING FOR ITS OWN ACCOUNT IN               TRANSACTION
MEETING THE REQUIREMENTS OF RULE 144A SO LONG AS THE PREFERENCE
SHARES ARE ELIGIBLE FOR RESALE IN ACCORDANCE WITH RULE 144A WHO IS
ALSO      QUALIFIED   PURCHASER     QUALIFIED PURCHASER           WITHIN   THE
MEANING OF SECTION 3c7 OF THE INVESTMENT COMPANY ACT THAT WAS
NOT FORMED FOR THE PURPOSE OF INVESTING IN THE ISSUER EXCEPT WHEN
EACH BENEFICIAL OWNER OF THE PURCHASER IS             QUALIFIED PURCHASER
AND THAT     HAS RECEIVED THE NECESSARY CONSENT FROM ITS BENEFICIAL
OWNERS WHEN THE PURCHASER IS         PRIVATE INVESTMENT COMPANY FORMED
ON OR BEFORE APRIL 30 1996        IS NOT    BROKER-DEALER THAT OWNS AND
INVESTS ON    DISCRETIONARY    BASIS LESS THAN $25000000     IN SECURITIES  OF
UNAFFILIATED   ISSUERS AND     IS NOT    PENSION PROFIT-SHARING OR OTHER
RETIREMENT TRUST FUND OR PLAN IN WHICH THE PARTNERS BENEFICIARIES
OR PARTICIPANTS      OR AFFILIATES     MAY DESIGNATE        THE   PARTICULAR
INVESTMENT TO BE MADE        IN EACH CASE IN       NUMBER OF NOT LESS THAN
100 PREFERENCE SHARES    FOR THE PURCHASER AND          IN ACCORDANCE WITH

ALL APPLICABLE SECURITIES LAWS OF ANY STATE OF THE UNITED STATES AND
ANY OTHER APPLICABLE        JURISDICTION        EACH TRANSFEROR        OF THE
PREFERENCE SHARES REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST
THEREIN  WILL PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS  AS SET FORTH
HEREIN  TO ITS PURCHASER EACH PURCHASER OF THE PREFERENCE SHARES
REPRESENTED    HEREBY   WILL  BE REQUIRED   TO MAKE THE APPLICABLE
REPRESENTATIONS    AND AGREEMENTS SET FORTH IN THE PREFERENCE SHARE
DOCUMENTS       THE PREFERENCE SHARES REPRESENTED      HEREBY MAY BE
PURCHASED     BY OR TRANSFERRED     TO    BENEFIT   PLAN INVESTOR     OR
CONTROLLING     PERSON EACH AS DEFINED     IN  THE PREFERENCE SHARE
DOCUMENTS ONLY UPON THE SATISFACTION OF CERTAIN CONDITIONS           SET
FORTH IN THE PREFERENCE SHARE DOCUMENTS ANY TRANSFER IN VIOLATION
OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT WILL BE VOID AB
INITIO  AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO THE



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TRANSFEREE NOTWITHSTANDING ANY INSTRUCTIONS       TO THE CONTRARY TO
THE IS SUER THE PREFERENCE SHARES PAYING AGENT OR ANY INTERMEDIARY
IN ADDITION TO THE FOREGOING THE ISSUER MAINTAINS  THE RIGHT TO RESELL
ANY PREFERENCE SHARES PREVIOUSLY      TRANSFERRED   TO NON-PERMITTED
HOLDERS OR NON-PERMITTED BENEFIT PLAN INVESTORS AS DEFINED IN THE
PREFERENCE SHARE DOCUMENTS IN ACCORDANCE WITH AND SUBJECT TO THE
TERMS OF THE PREFERENCE SHARE DOCUMENTS

       THE     FAILURE   TO
                       PROVIDE   THE ISSUER AND ANY PAYING AGENT
WHENEVER REQUESTED     BY THE ISSUER OR THE SERVICER ON BEHALF OF THE
ISSUER  WITH THE APPLICABLE U.S FEDERAL INCOME TAX CERTIFICATIONS
GENERALLY AN INTERNAL REVENUE SERVICE FORM W-9 OR APPLICABLE
SUCCESSOR FORM IN THE CASE OF         PERSON THAT IS      UNITED STATES
PERSON WITHIN    THE MEANING OF SECTION 7701A30       OF THE CODE OR AN
APPROPRIATE   INTERNAL   REVENUE    SERVICE   FORM W-8 OR APPLICABLE
SUCCESSOR FORM IN THE CASE OF      PERSON   THAT IS NOT   UNITED STATES
PERSON WITHIN THE MEANING OF SECTION 7701A30 OF THE CODE MAY
RESULT IN THE IMPOSITION OF U.S FEDERAL WITHHOLDING FROM PAYMENTS
TO THE HOLDER IN RESPECT OF THE PREFERENCE SHARES REPRESENTED
HEREBY

       THE PREFERENCE SHARES REPRESENTEDHEREBY MAY NOT BE ACQUIRED
OR HELD BY     ANY EMPLOYEE BENEFIT PLAN WITHIN THE MEANING OF
SECTION 33 OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974
AS AMENDED ERISA THAT IS SUBJECT TO TITLE     OF ERISA II ANY PLAN
DESCRIBED BY SECTION 4975e1 OF THE INTERNAL  REVENUE CODE OF 1986 AS
AMENDED THE CODE THAT IS SUBJECT TO SECTION 4975 OF THE CODE OR
III ANY ENTITY WHOSE UNDERLYING ASSETS INCLUDE PLAN ASSETS OF ANY
PLAN DESCRIBED IN    OR II BY REASON OF   PLANS INVESTMENT IN SUCH
ENTITY EACH OF      II AND III   BENEFIT PLAN INVESTOR EXCEPT IN
ACCORDANCE WITH THE RESTRICTIONS SET FORTH IN THE PREFERENCE SHARE
DOCUMENTS

    EACH TRANSFEREE WILL BE REQUIRED TO DELIVER         TRANSFEREE
CERTIFICATE IN FORM PRESCRIBED IN THE PREFERENCE SHARE DOCUMENTS




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                                           EASTLAND CLO LTD

Number


CUSIP      NO                                                                  xxxxx Preference           Shares



                              Existing    under the laws of the Cayman Islands

                              US $1000      divided         into   1000 Ordinary       Shares

                                 of      nominal par value          of   US   $1.00   each
               and 123500    Preference    Shares     of       nominal or par value          of   US   $0.01   each


                                         THIS    IS   TO CERTIFY THAT
                                                             xxx
                                           is   the registered       Holder of


                                            XXX       Preference         Shares


in   the   above-named   Company      subject    to   the    Amended       and Restated       Memorandum           and Articles
of Association     thereof




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THIS CERTIFICATE           IS   ISSUED   BY the   said   Company on   this   13th   day of March 2007

EXECUTED       on behalf    of the said Company     by




                                                    DIRECTOR__________________




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                                                                                                                                                                       Exhibit




                  FORM OF TRANSFEREE CERTIFICATE FOR PREFERENCE SHARES

Eastland           CLO         Ltd
P.O Box            1234

Queensgate               House
South Church               Street

George            Town
Grand        Cayman Cayman                        Islands



Investors          Bank              Trust      Company
  as Preference                Shares        Paying Agent


Attention


                               Re           Eastland           CLO         Ltd
                                            Preference           Shares Par Value                 $0.01       Per Share



Dear     Sirs



              Reference              is    hereby made               to    the    Issuers       Memorandum                     and Articles of Association                            the
Articles                 and certain resolutions                      adopted          at     meeting of the Issuers                        Board of Directors                    on or
about                          2007        the        Resolutions                   as reflected        in    the        minutes thereof                  Reference              is   also

made         to    the    Preference              Shares        Paying           Agency         Agreement                    dated    as    of March            13 2007               the
Agreement                       by        and    between          Eastland             CLO Ltd               as        Issuer        and    Investors          Bank               Trust

Company              as Preference                Shares         Paying           Agent         Capitalized                  terms used but              not   defined           herein

shall    have        the       meanings           set       forth in       the Resolutions             including               Annex            thereto        Annex
and     if   not   defined           in    the Resolutions in the Offering                            Memorandum

              This        certificate            relates        to                                            Preference                   Shares        which        are        to    be
                                                                          __________________
transferred          to    the undersigned transferee the                               purchaser                      pursuant       to    Section        5b    of Annex


                               The        purchaser           hereby represents                 warrants           and covenants                for the         benefit          of the

Issuer that          the transfer               has        been effected          in    accordance        with the transfer                    restrictions           set   forth in

Section           5b      of Annex                and the Offering                 Memorandum                 dated           March                 2007 the Offering

Memorandum                           relating         to    the Preference             Shares    and that


                                            The        purchaser           hereby       certifies     that        it    is     Qualified        Institutional           Buyer as
              defined          in Rule          144A under                the    Securities     Act and                 Qualified          Purchaser           for purposes of

              the Investment                 Company Act and


                                            The        Purchaser           is   aware       that the sale          of the Preference                 Shares      to    it   is    being
              made        in    reliance on an exemption                           from the      registration                 requirements           under the Securities

              Act      and      it    is   acquiring           the    Preference             Shares    for        its    own         account        in     number           not       less

              than       the    minimum               lot




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                              The       purchaser                has        such         knowledge                and        experience                 in    financial             and         business

matters        as to       be capable                  of evaluating                 the       merits        and       risks        of     its    investment                 in    the    Preference

Shares and the purchaser                                is   able to bear the economic                             risk      of     its    investment


                              The      purchaser               understands                that    the       Preference               Shares          are being               offered           only    in


transaction             not     involving                any     public           offering            in    the    United             States        within             the        meaning         of the

Securities             Act      the         Preference                Shares          have        not        been        and         will         not        be    registered              under       the

Securities             Act and              if in       the     future         the       purchaser               decides        to        offer     resell pledge                    or        otherwise

transfer          the     Preference                   Shares          such         Preference               Shares            may         be      offered              resold            pledged           or

otherwise          transferred               only in accordance                          with the legend                 in    respect            of such Preference                       Shares       set

forth in clause               11        below and the                       restrictions          set      forth in the Preference                            Share Documents                          The

purchaser              acknowledges                     that     no         representation                  is    made          by        the      Issuer              the    Servicer            or    the

Placement              Agent          or    any         of     their        respective           Affiliates             as     to    the         availability            of any            exemption
under the Securities                        Act or other applicable                            laws of any jurisdiction                             for      resale of the                Preference

Shares


                              The      purchaser                agrees         that       it   will        not    offer or sell                   transfer             assign or otherwise

dispose       of the Preference                         Shares        or any         interest         therein          except                  pursuant           to    an exemption               from
or    in      transaction               not          subject         to the          registration                requirements                  of the         Securities             Act        and    any
applicable              state    securities                  laws       or     the       applicable              laws        of any              other       jurisdiction                 and     ii        in

accordance               with the               Preference              Share         Documents                   to    which             provisions              the        purchaser            hereby
             it   is
agrees                 subject



                              The      purchaser                is    not     purchasing              the        Preference               Shares        with             view        to    the    resale

distribution             or     other           disposition             thereof           in     violation             of the             Securities           Act            It    has        read    and

understood the Offering                               Memorandum                      including              without           limitation the                     Risk        Factors             section

therein           The     purchaser                  understands             that     the Preference                    Shares        will        be highly             illiquid          and are not

suitable          for     short-term                  trading               The       Preference                 Shares         are               leveraged              investment               in    the

Collateral Obligations                          that                                the Preference                 Shares            to
                                                          may        expose                                                                disproportionately                       large changes

in    value        Payments                in    respect         of the Preference                     Shares           are not           guaranteed              as they           are dependent

on     the        performance                    of      the         Issuers          portfolio              of        Collateral              Obligations                         The         purchaser

understands              that    it    is   possible            that        due     to    the structure                of the transaction                     and the performance                           of
the    Issuers           portfolio           of Collateral Obligations                                dividends              or other             distributions in respect                         of the
Preference              Shares         may           be reduced or eliminated                               entirely                Furthermore                   the    Preference               Shares

constitute             equity    in    the        Issuer         are not          secured         by the Collateral and will rank behind                                                 all    creditors

secured            and        unsecured                 and     whether              known            or     unknown                  of the            Issuer           including               without

limitation the Holders                           of the Notes and any Hedge Counterparties                                                         The       Issuer has             assets        limited

to    the Collateral for payment                               of     all    Classes of the Notes and dividends                                          and other distributions on

the    Preference               Shares               and      the     Preference                Shares           bear        pro      rata          the       first      risk       of loss            The

purchaser              understands                   that      an      investment                in     the       Preference                   Shares         involves              certain           risks

including          the     risk       of        loss     of    all    or        substantial                part of       its    investment                    The        purchaser               has   had

access       to    such financial and other information                                               concerning               the        Issuer        the Preference                    Shares       and

the    Collateral as              it    deemed               necessary              or appropriate                 in    order            to     make        an informed investment

                  with respect                                                                                                                                                                         ask
decision                                        to     its   purchase of the Preference                                 Shares             including              an opportunity                  to


questions          of and request                     information              from the Issuer and the Placement Agent




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                                       None          of the               Issuer               the        Co-Issuer              the     Trustee                 the       Initial          Purchaser                   the

Placement Agent                         any Hedge Counterparty                                            the    Preference             Shares             Paying           Agent            the       Collateral

Administrator                or the           Servicer              is    acting           as             fiduciary         or financial or investment                                     advisor            for       the

                                                                                                                                                                                                   decision
purchaser             ii         the    purchaser              is    not           relying for purposes of making                                               any investment                                           or

otherwise upon any advice                                      counsel              or representations                      whether              written             or oral of the Issuer                              the

Co-Issuer the                Trustee               the Initial                Purchaser                   the Placement                 Agent any Hedge Counterparty                                                    the

Preference               Shares          Paying           Agent                the        Collateral Administrator                                  or     the       Servicer              or    any         of     their


respective           Affiliates              other        than           in    the Offering                     Memorandum                     and any representations                                  expressly

set     forth       in           written          agreement                   with         such           party iii none                       of the            Issuer          the        Co-Issuer                   the

Trustee            the     Initial          Purchaser                the           Placement                   Agent        any         Hedge Counterparty                                  the       Preference

Shares         Paying            Agent             the     Collateral                    Administrator                     or    the     Servicer               or     any     of      their           respective

Affiliates           has         given        to         the       purchaser                   directly               or    indirectly               through               any        other           Person             or

documentation                    for the          Preference                  Shares            any assurance                        guarantee             or representation                      whatsoever

as     to     the        expected             or        projected                  success                 profitability                return             performance                      result             effect

consequence                 or benefit              including                      legal        regulatory                 tax       financial             accounting                 or        otherwise                of

the     Preference               Shares            or an           investment                  therein               iv     the       purchaser             has           consulted             with         its     own

legal        regulatory               tax     business               investment                       financial and accounting                              advisors             to    the        extent           it   has

deemed necessary                            and    it    has       made            its    own         investment                 decisions            including               decisions                regarding
the     suitability          of any transaction                                                 to        the    documentation                  for        the    Preference                 Shares             based
                                                                          pursuant

upon        its    own      judgment               and upon any advice                                    from such advisors                         as    it   has        deemed           necessary                   and

not     upon any view                       expressed              by the Issuer                      the        Co-Issuer the Trustee                               the    Initial         Purchaser                   the

Placement Agent                         any        Hedge Counterparty                                     the    Preference              Shares            Paying           Agent            the       Collateral

Administrator                    or     the        Servicer               or       any         of     their           respective           Affiliates                            the        purchaser                   has

determined                that        the    rates        prices              or     amounts                and other                terms      of the           purchase                  and        sale     of the
Preference            Shares            reflect          those       in       the     relevant              market          for      similar transactions                         vi            the purchaser

is    purchasing            the        Preference              Shares              with              full       understanding                  of    all   of the terms conditions                                      and

risks       thereof         economic                    and otherwise                           and         it   is     capable         of assuming                       and willing                 to     assume

financially               and otherwise those risks                                       and vii the purchaser                            is         sophisticated                   investor



                                        The        purchaser                  is               Qualified              Purchaser            or       ii an         entity         owned            exclusively

by Qualified               Purchasers                          the purchaser                         is    acquiring            the Preference                   Shares           as principal                 for       its


own         account         and         not        for    the       account               of any family                     or       other trust             any family                    member             or        any
other person                for        investment              and not               for       sale       in     connection             with any distribution thereof                                                   the

purchaser            was         not     formed            solely for                the        purpose of investing                            in    the        Preference                 Shares           except
when         each        beneficial               owner            of the           purchaser                   is       Qualified             Purchaser                              to    the        extent           the

purchaser            is          private           investment                      company                formed           before         April            30        1996         the       purchaser                   has

received           the     necessary                consent              from            its    beneficial               owners                      the        purchaser              is       not          broker-

dealer        that        owns and                 invests          on              discretionary                     basis less           than            $25000000                       in securities                 of

unaffiliated              issuers                   the        purchaser                  is    not              pension             profit-sharing                  or     other          retirement               trust

fund        or plan         in    which            the     partners                beneficiaries                     or participants                 or affiliates               may            designate               the

particular investment                         to    be     made                          the purchaser                   agrees         that    it    shall          not    hold such Preference
Shares        for     the        benefit       of any other Person and                                          shall      be the sole beneficial                           owner           thereof            for       all


purposes and that                      it   shall       not    sell       participation                    interests            in   the Preference                    Shares         or enter into                     any
other arrangement                       pursuant              to    which            any other Person                           shall    be     entitled             to      beneficial                interest          in

the     dividends                or    other        distributions                    on the                Preference                Shares          except               when        each            such         other

Person        is             Qualified              Institutional                   Buyer and                    ii        Qualified            Purchaser                   and                 the purchaser




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understands               and agrees                   that
                                                                 any purported                      transfer       of the Preference                         Shares         to         purchaser              that


does not comply                    with the requirements                                  of   this     paragraph           shall           be null and void ab                       initio




                             The            purchaser              understands                   that       prior to       any         sale       or other transfer                   of any           interest

in      Preference               Share            it    or       the transferee                  as applicable               will           be required            to    provide           to    the Issuer

and Preference                   Shares               Paying Agent                       duly       executed transfer                       certificate        substantially                 in   the form

of Exhibit                 attached               to    Annex                  and such other                    certificates               and other information                           as they           may
reasonably                                  to        confirm           that        the                          transfer          complies                with the            restrictions              in    the
                      require                                                              proposed
legend      placed           on each                  certificate         representing                    the    Preference                 Shares         and in the Preference                         Share

Documents


                             The            purchaser              understands                    and       agrees      that                  no       purchase or transfer                         may         be

made      that       would             result          in any        person or                 entity        holding         beneficial                ownership               in     any Preference
Shares        in less       than          an authorized                   number               as   set     forth in       Annex                   and      ii no purchase or transfer
of Preference               Shares               that       would have                the effect             of requiring               either         of the Co-Issuers                     or the pool

of Collateral               to    register              as an investment                         company             under the Investment                            Company                Act        will     be

permitted


              10                 The        purchaser              understands                   and agrees           that        no purchase or transfer                              of Preference

Shares               to          purchaser                  or transferee                 that      has     represented                that      it   is      Benefit            Plan Investor                  as
defined         in   Section              342           of the Employee                          Retirement           Income                 Security Act of 1974                           as    amended
ERISA                 or           Controlling                    Person as defined                          below          will            be effective                 and the        Issuer           or the

Share      Registrar               will not                 recognize               or    register           such     purchase                   or   transfer            if     such       purchase or
transfer        would            result          in    Benefit          Plan Investors owning                          25%             or    more of          the       aggregate           outstanding

amount          of the Class                      Preference               Shares              or the       Class     II    Preference                 Shares            determined               pursuant
to    Section         342              of        ERISA             29 C.F.R                 Section              2510.3-101                  the      Indenture            and the              Preference

Share     Documents                       or      ii will          be permitted                   if   such purchase or transfer                              will result             in        prohibited

transaction           under Section                         406 of        ERISA                or Section            4975 of Code as defined                                    below            or      in    the

case     of          governmental                       foreign           or church plan                          violation             of any substantially                          similar federal

state     foreign           or      local             law         The          purchaser              further understands                          and agrees              that
                                                                                                                                                                                      any       transfer           in

violation        of the applicable                            provisions                 of the Preference                  Share             Documents                  will be null and                     void

ab     initio        For purposes of the                                25%         determination                  described                in   the       first    sentence           of       this    clause

10       the Preference                      Shares           held       by the Trustee                     the    Servicer             any of             their    respective              affiliates          as
defined         in   29 C.F.R                    Section          2510.3-10103                              and any other persons                            that        have       represented                that


they     are     Controlling                      Persons will be disregarded                                     and      will         not        be treated as outstanding                                  The

purchasers                acquisition                   holding           and         disposition                of the      Preference                     Shares        will        not       result        in


prohibited            transaction                     under        Section            406        of     ERISA          or     Section                 4975     of the            Internal         Revenue

Code of 1986 the                             Code or                           in    the       case         of       governmental                      foreign           or      church           plan         any

substantially               similar federal                        state            foreign            or    local     law             because              such         purchase               holding            or

acquisition               either                  is    not       and     will        not        become           subject          to       such laws or                         is   covered by an

exemption             from          all      applicable                 prohibited               transactions               all        conditions             of which              are     and will be
satisfied        throughout                    its     holding           of such Preference                          Shares             The        purchaser             and any            fiduciary              or

Person causing                    it   to      acquire            the    Preference                 Shares        agree           to    the       fullest      extent          permissible               under

applicable           law          to indemnify                     and hold               harmless the Issuer                          the       Co-Issuer the                   Initial        Purchaser
the    Placement Agent                                the     Preference              Shares            Paying        Agent             the        Trustee           the       Servicer           and     their


respective           affiliates             from any cost damage or                                     loss      incurred         by them as                      result        of     breach of the

representations                   set       forth           in    this     clause              10         and      clause          12 below                         If    the       purchaser             is       an



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insurance      company      investing      through        its   general       account as defined                in   United    States Department

of Labor       DOL          Prohibited       Transaction           Class          Exemption       PTCE                 95-60     for so    long   as    it


holds    the   Preference     Shares         such    purchaser              represents     that        the   percentage         of assets    of such

insurance      company      general       account     that
                                                                 may        be treated as plan               assets under         ERISA      and the

Code    will always remain below               25% as           determined pursuant               to    ERISA         and the    Code

          11        The     purchaser       understands           that      the    Preference          Shares           will    be represented         by

one or more Preference             Share     certificates        which will bear the legend                      substantially     in the form set

forth below      unless     the    Issuer determines             otherwise          in accordance            with applicable          law and
may     only   be resold      pledged        or transferred            to    Qualified     Institutional             Buyers     who    are also

Qualified      Purchasers     or          entities   owned            exclusively        by Qualified            Purchasers        The     purchaser

                                                                                      be                                                   otherwise
understands      that   before      the    Preference           Shares        may          offered           resold      pledged      or

transferred     the transferee will          be required         to    provide       the Preference           Shares     Paying Agent and the
Issuer with       written    certification        as to    compliance             with the transfer restrictions


                            REPRESENTED HEREBY HAVE NOT BEEN AND
        THE PREFERENCE SHARES
WILL NOT BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933
AS AMENDED THE     SECURITIES         AND THE ISSUER HAS NOT BEEN     ACT
REGISTERED UNDER THE UNITED STATES INVESTMENT COMPANY ACT OF 1940
AS AMENDED THE INVESTMENT     COMPANY         THE PREFERENCE SHARES                      ACT
REPRESENTED   HEREBY   HAVE NOT BEEN OFFERED SOLD PLEDGED          OR
OTHERWISE   TRANSFERRED   EXCEPT     TO   PERSON  WHOM    THE SELLER
REASONABLY BELIEVES                       INSTITUTIONAL
                                             IS           BUYER QUALIFIED
                                                     QUALIFIED
INSTITUTIONAL    BUYER                   MEANING  WITHIN
                                                    OF    THE
                                                       RULE  144A UNDER THE
SECURITIES  ACT PURCHASING FOR ITS OWN ACCOUNT IN               TRANSACTION
MEETING THE REQUIREMENTS OF RULE 144A SO LONG AS THE PREFERENCE
SHARES ARE ELIGIBLE FOR RESALE IN ACCORDANCE WITH RULE 144A WHO IS
ALSO      QUALIFIED  PURCHASER      QUALIFIED PURCHASER           WITHIN   THE
MEANING OF SECTION 3c7 OF THE INVESTMENT COMPANY ACT THAT WAS
NOT FORMED FOR THE PURPOSE OF INVESTING IN THE ISSUER EXCEPT WHEN
EACH BENEFICIAL OWNER OF THE PURCHASER IS              QUALIFIED PURCHASER
AND THAT     HAS RECEIVED THE NECESSARY CONSENT FROM ITS BENEFICIAL
OWNERS WHEN THE PURCHASER IS         PRIVATE INVESTMENT COMPANY FORMED
ON OR BEFORE APRIL 30 1996        IS NOT    BROKER-DEALER THAT OWNS AND
INVESTS ON    DISCRETIONARY    BASIS LESS THAN $25000000     IN SECURITIES  OF
UNAFFILIATED ISSUERS AND       IS NOT     PENSION PROFIT-SHARING OR OTHER
RETIREMENT TRUST FUND OR PLAN IN WHICH THE PARTNERS BENEFICIARIES
OR PARTICIPANTS     OR AFFILIATES       MAY DESIGNATE THE PARTICULAR
INVESTMENT TO BE MADE        IN EACH CASE IN       NUMBER OF NOT LESS THAN
100 PREFERENCE SHARES   FOR THE PURCHASER AND           IN ACCORDANCE WITH
ALL APPLICABLE SECURITIES LAWS OF ANY STATE OF THE UNITED STATES AND
ANY OTHER APPLICABLE        JURISDICTION        EACH TRANSFEROR        OF THE
PREFERENCE SHARES REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST
THEREIN WILL PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS AS SET FORTH
HEREIN TO ITS PURCHASER    EACH PURCHASER OF THE PREFERENCE SHARES
REPRESENTED   HEREBY  WILL   BE REQUIRED   TO MAKE THE APPLICABLE
REPRESENTATIONS  AND AGREEMENTS SET FORTH IN THE PREFERENCE SHARE

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DOCUMENTS           PREFERENCE SHARES REPRESENTED
                           THE                          HEREBY MAY BE
PURCHASED    BY OR TRANSFERRED     TO      BENEFIT  PLAN   INVESTOR OR
CONTROLLING    PERSON EACH AS DEFINED       IN THE PREFERENCE SHARE
DOCUMENTS ONLY UPON THE SATISFACTION        OF CERTAIN   CONDITIONS SET
FORTH IN THE PREFERENCE SHARE DOCUMENTS ANY TRANSFER IN VIOLATION
OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT WILL BE VOID AB
INITIO   AND WILL NOT OPERATE     TO TRANSFER ANY RIGHTS         TO THE
TRANSFEREE NOTWITHSTANDING    ANY   INSTRUCTIONS   TO  THE CONTRARY  TO
THE ISSUER THE PREFERENCE SHARES PAYING AGENT OR ANY INTERMEDIARY
IN ADDITION TO THE FOREGOING THE ISSUER MAINTAINS   THE RIGHT TO RESELL
ANY PREFERENCE SHARES PREVIOUSLY TRANSFERRED          TO NON-PERMITTED
HOLDERS OR NON-PERMITTED BENEFIT PLAN INVESTORS AS DEFINED IN THE
PREFERENCE SHARE DOCUMENTS IN ACCORDANCE WITH AND SUBJECT TO THE
TERMS OF THE PREFERENCE SHARE DOCUMENTS

        THE        FAILURE
                       PROVIDE  THE ISSUER AND ANY PAYING AGENT
                                   TO
WHENEVER REQUESTED    BY THE ISSUER OR THE SERVICER ON BEHALF OF THE
ISSUER  WITH THE APPLICABLE U.S FEDERAL INCOME TAX CERTIFICATIONS
GENERALLY AN INTERNAL      REVENUE SERVICE FORM W-9 OR APPLICABLE
SUCCESSOR FORM IN THE CASE OF        PERSON THAT IS   UNITED STATES
PERSON WITHIN THE MEANING OF SECTION 7701A30 OF THE CODE OR AN
APPROPRIATE  INTERNAL    REVENUE SERVICE FORM W-8 OR APPLICABLE
SUCCESSOR FORM IN THE CASE OF     PERSON THAT IS NOT  UNITED STATES
PERSON WITHIN THE MEANING OF SECTION 7701A30 OF THE CODE MAY
RESULT IN THE IMPOSITION OF U.S FEDERAL WITHHOLDING FROM PAYMENTS
TO THE HOLDER IN RESPECT OF THE PREFERENCE SHARES REPRESENTED
HEREBY

                                        HEREBY MAY NOT BE ACQUIRED
        THE PREFERENCE SHARES REPRESENTED
OR HELD BY     ANY EMPLOYEE BENEFIT PLAN WITHIN THE MEANING OF
SECTION 33 OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974
AS AMENDED ERISA THAT IS SUBJECT TO TITLE     OF ERISA II ANY PLAN
DESCRIBED BY SECTION 4975e1 OF THE INTERNAL  REVENUE CODE OF 1986 AS
AMENDED THE CODE THAT IS SUBJECT TO SECTION 4975 OF THE CODE OR
III ANY ENTITY WHOSE UNDERLYING ASSETS INCLUDE  PLAN ASSETS OF ANY
PLAN DESCRIBED IN    OR II BY REASON OF   PLANS INVESTMENT IN SUCH
ENTITY EACH OF      II AND III   BENEFIT PLAN INVESTOR EXCEPT IN
ACCORDANCE WITH THE RESTRICTIONS SET FORTH IN THE PREFERENCE SHARE
DOCUMENTS

           EACH TRANSFEREE WILL BE REQUIRED TO DELIVER  TRANSFEREE
CERTIFICATE IN FORM PRESCRIBED IN THE PREFERENCE SHARE DOCUMENTS

             12      The   funds   that   the purchaser        is   using    or will   use   to   purchase the Preference           Shares

are assets of       person who      is    or at any time       while   the    Preference      Shares      are held   by the purchaser
will    be         an employee       benefit    plan      as    defined      in   Section    33      of   ERISA      that   is   subject   to

Title        of   ERISA            plan       described        in   Section       4975e1          of the   Code      that   is   subject   to




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Section        4975    of the Code or                         an     entity           whose     underlying               assets would                be deemed               to   include

plan assets of               either      of the foregoing                   by reason           of the investment                      by an employee                  benefit          plan

or other plan          in    the    entity       within        the    meaning             of 29 C.F.R                 Section           2510.3-101                as modified by

Section        342      of     ERISA            the      plans        and         persons           described            in     clauses                           and               being

referred to as Benefit                    Plan Investors


                        Yes
                                   _____
                                                No     ______        Please             check        either yes or                 no
                        If
                              yes such              funds      are assets              of an employee                 benefit          plan     subject         to     the    fiduciary

responsibility provisions                      of    ERISA           or          plan     described            in     Section          4975e1                of the          Code and
subject    to    Section       4975 of the             Code

                        Yes                     No                   Please             check        either yes or                 no
                                   ______              ______


                        The        purchaser           is     not    the        Issuer        the    Co-Issuer the                    Servicer         or any          other      person
other     than         Benefit          Plan    Investor            that        has    discretionary            authority             or control           with respect            to    the

assets    of the Issuer or                    person who            provides             investment            advice          for         fee direct           or indirect            with

respect    to    the    assets          of the Issuer                or     any        affiliate          as        defined           in   29 C.F.R               Section         2510.3

101f3            of any such person                    any         such person                  Controlling                    Person                Please place                  check
in the    following          space        if   the    foregoing statement                           is   NOT        accurate
                                                                                                                                           ____________


                        If   the                         is    an insurance                                                          through                                account as
                                     purchaser                                            company              investing                             its   general
defined    in    PTCE 95-60                   for    so long        as     it   holds     the Preference                  Shares no more than                                      of the
assets of such insurance                      company          general            account could                be treated as plan assets for purposes of
Section        342      of     ERISA                 The      purchaser                will    promptly               notify         the      Issuer       if   this     percentage

changes         Please        provide percentage                           if    applicable


                        If   the purchaser               is       Benefit             Plan Investor            that      is   an     entity    other than an insurance

company          general        account              whose           underlying               assets       include              plan          assets         by      reason        of an
employee         benefit       plans           or    other        plans           investment             in    the       entity         for    so     long        as   it    holds       the

Preference        Shares no more                     than                   of the purchasers                    assets         shall      be treated as plan                     assets
under Section           342         of    ERISA               The    purchaser             will promptly notify the                            Issuer if this percentage

changes         Please        provide percentage                           if    applicable


                        The purchasers                     acquisition                holding        and disposition                  of the Preference                 Shares          will

not   result    in      prohibited              transaction           under Section                  406 of           ERISA           or Section           4975        of the Code

or in     the case       of        governmental                   foreign         or church plan                      violation            of any substantially                   similar

federal        state    foreign          or    local       law        unless           an exemption                 is    available            all    conditions              of which
have been and will be                   satisfied        throughout               the purchasers                 holding             of the Preference                 Shares


                        The        purchaser           further acknowledges                         and agrees                that    the Preference                 Shares       Paying
Agency         Agreement            will       entitle      the     Issuer to            require         the   purchaser              to    dispose        of the           Preference

Shares     as     soon        as     practicable                                       notification                      the       Issuer      of                                 in     the
                                                              following                                        by                                      any        change
information          supplied         in this       clause        12
                        The        purchaser           understands                that    the       representations                  made       in    this      clause        12        will

be deemed made                on each day from the date hereof through                                                and including                  the   date on which                 the

purchaser       disposes           of   its   interests       in    the Preference                  Shares



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                          The     purchaser                agrees             to    indemnify and hold harmless                                       the       Co-Issuers the Trustee
the Preference            Shares            Paying Agent the                            Initial       Purchaser                  the Placement                   Agent and the Servicer
and    their    respective             affiliates          from any cost damage                                        or loss          incurred            by them            as         result        of

breach of the representation                          in      this      clause            12
                          The      purchaser                  agrees
                                                                                   that       it    will        not         sell    pledge             or       otherwise            transfer           any
Preference        Shares         in violation of the foregoing



           13             The      purchaser               will         provide           notice           to    each Person               to    whom             it
                                                                                                                                                                       proposes            to   transfer

any    interest      in   the     Preference                  Shares               of the transfer                restrictions             and representations                            set   forth in

the    Preference           Share Documents                               including                 the         exhibits          referenced                in    the     Preference               Share

Documents


           14             The     purchaser                understands                    that      the Preference                  Share        Documents permit                          the Issuer

to    compel      any Holder                of the Preference                           Shares        who         is         U.S        Person and                who     is    determined not

to    have been both                          Qualified              Institutional                  Buyer and                           Qualified               Purchaser           at    the time        of

acquisition          of the       Preference               Shares              to       sell       such     Preference                  Shares             or to       sell    such       Preference

Shares     on behalf             of such purchaser                            to          Person           that    is       both                 Qualified              Institutional             Buyer
and             Qualified              Purchaser              in         transaction                  exempt            from the registration requirements                                         under

the    Securities      Act


           15             The      beneficial               owner                  if   not         U.S           Person           either                  is    not          bank        within         the

meaning        of Section           881       c3A                    of the         Code            or     ii is             person       that        is   eligible       for benefits under

an income         tax treaty with the United                                  States that              eliminates                United         States           federal       income           taxation

of Unites         States         source            interest             not        attributable             to              permanent            establishment                   in       the    United
States         The     beneficial              owner            is      not        purchasing               the        Preference               Shares            in    order        to    reduce        its


United     States federal               income           tax liability                  or pursuant               to         tax avoidance                  plan


           16             The      purchaser               acknowledges                        that      no action               was    taken         or    is   being        contemplated               by
the    Issuer that        would             permit              public             offering           of the           Preference             Shares              The     purchaser              further

acknowledges              that    no action              was         taken          or    is     being contemplated                         by the Issuer that would                              permit

possession           or     distribution                 of the                Offering               Memorandum                         or      any            amendment                 thereof         or

supplement           thereto           or            other           offering             material                                 to    the     Securities              in any           jurisdiction
                                             any                                                                 relating

other     than       Ireland            where              or      in                   circumstances                       in   which           action           for    those                               is
                                                                          any                                                                                                             purposes
required        Nothing           contained              in     the      Offering              Memorandum                        relating        to    the Preference                    Shares        shall

constitute        an offer to               sell    or        solicitation                 of an offer                 to    purchase any                   Preference              Shares        in
                                                                                                                                                                                                        any
jurisdiction         where        it   is    unlawful              to    do so absent the taking                                 of such action                  or the       availability          of an

exemption         therefrom


           17             The      purchaser               understands                     that       in    the    case          of any         supplemental                   indenture           to    the

Indenture       that      requires            consent           of one or more Holders                                       of the Preference                     Shares           the     Indenture

permits        the    Amendment                     Buy-Out                Purchaser                  to    purchase               Preference                   Shares         from        any     Non
Consenting           Holder        thereof           or         with respect                   to   any         Preference              Shares         held       by Investors                  Corp      to


purchase the           Holding               Preference                 Shares            from any                Non-Consenting                           Holding            Preference           Share

Holder     thereof           in    each            case       at     the       applicable                Amendment                      Buy-Out             Purchase           Price and such

Non-Consenting               Holder            or Non-Consenting                               Holding            Preference              Share            Holder will be required                        to




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sell   such Preference                         Shares       or Holding          Preference                Shares as the case                         may be            to   the       Amendment

Buy-Out         Purchaser                 at    such price


           18                  The        purchaser            understands              that    the           scheduled             redemption                  date       of the          Preference

Shares     is    subject             to    multiple          extensions            of four years each without                                   consent          of any Holders of the

Preference              Shares            at    the     option       of the        Issuer           if   directed              by the          Servicer              upon        satisfaction              of

certain conditions



           19                  The        purchaser            will not           at
                                                                                        any time                offer to            buy       or offer to              sell      the       Preference

Shares                           form of general                     solicitation              or    advertising                    including              but        not     limited            to
           by any                                                                                                                                                                                      any
advertisement article notice                                  or other          communication                       published              in
                                                                                                                                                   any newspaper magazine                                  or

similar medium                   or broadcast                 over    television             or radio or seminar or meeting                                      whose           attendees            have

been invited               by general             solicitations             or advertising



           20                  The        beneficial           owner        will
                                                                                       agree    to       treat for             U.S        federal         income            tax purposes

the    Preference               Shares           as equity         of the Issuer                         the Notes as                indebtedness                    of the Issuer and

the    Issuer         as                                                     to        the     extent           the       Issuer          can       no     longer           be        treated         as
                                     partnership              except
partnership               as          result          of any       election            by    the     Issuer              changes              in    ownership               of the          Issuer         or

changes         in    the      manner             in    which       the equity              of the Issuer                is   traded               The    beneficial              owner           will be

deemed        to     have        acknowledged                      that   the     Issuer       is    not       authorized                to     engage          in    activities           that    could

cause    it     to        constitute                  finance        or   lending            business              for    U.S         federal            income            tax    purposes and

agrees that           it   will report                its   investment          in     Preference              Shares           consistent with such limitation



           21                  To     the extent             required as determined by the Issuer or the Servicer                                                             on behalf            of the

Issuer     the            Issuer          may           upon       notice       to      the     Preference                    Shares          Paying            Agent            and       the     Share

Registrar            impose               additional          transfer        restrictions               on the               Preference             Shares          to     comply           with the

Uniting        and Strengthening                            America         by Providing                      Appropriate                Tools           Required           to    Intercept            and

Obstruct         Terrorism Act                         of 2001        the       U.S          Patriot           Act        and other                 similar laws                 or    regulations

including               without                limitation            requiring              each         transferee                 of             Preference               Share           to     make

representations                 to    the Issuer in connection                          with such compliance


           22                  The        purchaser           agrees        not to       cause       the        filing         of     petition in bankruptcy                               or winding

up against           the       Issuer before                 one year        and one day                      have elapsed                since          the    payment               in   full    of the

Notes or           if     longer the applicable preference                                    period          in    effect



           23                  The        purchaser           is   not      member of                the public                in   the       Cayman            Islands



           24                  The        purchaser            acknowledges                  that    the        Issuer has            the right            pursuant           to Section                   of

the Preference                 Shares           Paying Agency Agreement                                  to    issue additional                    Preference               Shares


           25                  The        purchaser            understands              that        to    the extent                required as determined                                 by the      Co
Issuers         the        Co-Issuers                  may amend              the       Indenture               and            with       respect          to        the    Issuer          only       the

Preference              Share Documents                         without         the      consent              of any Holders                       of the Securities                   and without

regard     to        whether              or     not        such amendment                   adversely              affects          the       interest         of the           Holders           of the

Securities           to          remove            any       restrictions          and limitations imposed on the Co-Issuers                                                     or the Holders

of the        Securities                  that        solely       relate       to      compliance                   with           Section           3c7                  and        ii     add       any
requirements                   that       are necessary               for    compliance                  with         Rule          3a-7        if at      any        time        following            the




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Closing         Date              the     Co-Issuers              elect        to        rely on           exclusion                 from         the    definition                  of investment

company           under Rule 3a-7                          in lieu       of the exclusion                   under Section                     3c7
            26                The            purchaser            understands                   that        the          Issuer            may         enter        into           amendments                    or

modifications                 to    the       Servicing           Agreement                    without          the          consent         of any          Holders               of the         Securities

and     without             regard            to    whether          or       not        such        amendment                       adversely           affects          the        interest            of the

Holders of the Securities


            27                The            purchaser            agrees            to     provide              and            agrees         it       will       cause            any       subsequent
transferee of               its    Preference               Shares       to    provide               the    Share             Registrar                  appropriate                 documentation

required         under the Code and the applicable                                              Treasury                regulations            establishing                   that     the        beneficial

owner      of the Preference                          Shares        to    be transferred                   is    either               non-U.S person                      e.g            an IRS           Form
W-8BEN            or an IRS                  Form W-8IMY                      with        appropriate                attachments                   or        U.S         person           e.g            an IRS

Form      W-9          and                   if    such beneficial              owner            is   treated as                     partnership              S-corporation                       or grantor

trust    for    U.S          federal              income       tax purposes                       written               representation                  from such beneficial                             owner

that           there         will not              be any         interests          in        such beneficial                       owner         where          substantially                   all    of the

value     of such                 interest           is    attributable             to     the        value          of the            Preference              Shares              proposed               to    be

transferred            to     such           beneficial           owner             together           with          the       value         of any          Class                  Notes           Holding
Securities        and Preference                          Shares         already          held        by such beneficial                          owner        and        ii         such beneficial

owner      is    not               part       of any         arrangement                       principal             purpose of which                          is   to     cause            the     Class

Notes      and         the         Preference               Shares        to    be treated as                        owned by                100        persons               or     less        within         the

meaning          of Treasury Regulation                              section             1.7704-1h                      The     purchaser               agrees       to       provide               properly

completed               newly             executed             U.S         tax           form         and       other           certificate             in     each           of the              following

circumstances                            no         later    than        120        days         prior          to      the      expiration              if applicable                           of the        last


previously         provided                  U.S          tax form or certificate                       ii upon                 any change              of circumstance                          that    would

cause     that    the last previously                         provided              U.S        tax form or certificate                            to    be incorrect                 and iii upon

request        by the             Issuer or the               Share        Registrar                  The        purchaser                 agrees
                                                                                                                                                        that        if   it    fails        to    provide

properly         completed                    newly          executed           U.S            tax    form           or other              certificate         no        later        than         120 days

prior to       the expiration                      of the     last   previously                 provided                U.S      tax form              or    if   earlier within                    the        time

specified         in
                        any         request              by the      Issuer or             the        Share Registrar                       which            shall       not        be      less        than     30

days       the     Issuer               will have           the     unconditional                     right        to        cause      such purchaser                    to       sell      any        and     all


Preference         Shares               to    the     Issuer or to                  person chosen                       by the Issuer or the Issuers                                   agent            on such
terms as the Issuer                      may         choose          For       this
                                                                                         purpose            an IRS Form                      W-8IMY or                    any successor                    form

thereto         will be            deemed            to     expire       upon            the    expiration                of any withholding                         statement               or     U.S         tax

forms associated                    with such IRS Form                          W-8IMY

            28                 The        purchaser               understands                  and      agrees                that     the     Issuer          will not               recognize                any
transfers        of Preference                       Shares        if    the    proposed transfer                             will     cause           the    Issuer to              have          either


exactly        one beneficial                      owner       or             more         than       ninety-nine                    beneficial          owners               as determined                     for


purposes of the provisions                                 of Treasury              Regulation                  section          1.7704-1h                    of    its       Class              Notes and

its    Preference             Shares          unless         in    the case           of clause                         it   receives        the       consent           of    all    of the Holders
of the Preference                    Shares          and an opinion                   of counsel              to     the effect             that       Holders of the Notes                             will    not

recognize         gain            or loss          for    U.S      federal          income            tax purposes as                         result         of such transfer                       and        will

be subject         to       U.S         federal           income         tax on the              same         amounts                 in    the    same        manner               and      at    the     same
times     as would                have been the case                     if    such transfer had not been                                   made




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              29          The     purchaser      represents          that    it   has    not    acquired         the Preference             Shares       pursuant           to

     trade     on an established               securities         market and              agrees        that      it    will       not   trade    any     Preference

Shares        on an established              securities        market              For    this
                                                                                                 purpose           the       term established               securities

market             includes      any national         securities          exchange         registered            under Section                of the       Securities

Exchange            Act of 1934 as amended                   or exempted                from registration because                        of the limited volume
of transaction            any     foreign     securities       exchange            that     imder the laws of the jurisdiction                            where        it    is


organized            satisfies     regulatory         requirements               that    are    analogous              to   the     regulatory       requirements

imposed under the                 Securities         Exchange         Act        of 1934         any     regional            or    local   exchange          and any

interdealer          quotation      system      that    regularly disseminates                    firm buy             or    sell   quotations       by identified
brokers        or dealers         by electronic        means        or otherwise                The    purchaser             understands          and agrees           that

in    the     event      that    the                                        or     trades       the    Preference              Shares       on     an    established
                                        purchaser        acquires

securities          market       as described          above        the     Issuer will not            recognize             any     transfers      of Preference

Shares       made      pursuant        to   such acquisition          or trade



              30          The     purchaser      is            is   not            check         one     Highland              Financial         Partners        L.P        or

any of       its   subsidiaries



              31          The     purchaser           acknowledges                that    the     Issuer          the        Servicer        the     Trustee            the

Placement             Agent       and       others      will      rely                    the    truth         and                          of     the    foregoing
                                                                             upon                                           accuracy

acknowledgments                    representations                and        agreements               and         agrees            that     if
                                                                                                                                                    any          of     the

acknowledgments                   representations            or     agreements              deemed          to     have           been     made      by     it
                                                                                                                                                                  by        its


purchase of the               Preference       Shares        or     any     beneficial          interest       therein            are no    longer       accurate            it


shall   promptly notify the                 Issuer     the   Servicer         the Trustee             and the Placement Agent


         THIS LETTER  SHALL BE GOVERNED BY AND                                                                                             CONSTRUED                    IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK

                                       remainder of          this
                                                                     page has been intentionally                            left   blank




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                      IN    WITNESS               WHEREOF                the undersigned       has   executed      this   Preference      Share

Transferee        Certificate        on the date         set    forth   below


Date     _____________               200_                                Number      of Preference         Shares    subscribed          for   at
                                                                           purchase    price    of U.S.S1000         per     share




                                                                         Aggregate      purchase           price    of     the     Preference

                                                                         Shares subscribed           for
                                                                         U.S.$_________________________




Print   Name       of Purchaser




By______________________
Signature      of Authorized Signatory




Print   Name       of Authorized Signatory




Print Title    of Authorized Signatory




Please     remember             to    give    the        Preference        Shares    Paying     Agent        the   proper        U.S     federal

income      tax    certifications            or   else    the    Preference      Shares Paying        Agent may have               to withhold

part of any        payment due and payable                         to   you

                      the   name and          address          of the registered Holder of the Preference                 Shares    is




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               the   wire/payment   instructions   for   the   registered   Holder   of the Preference

               Shares   are




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